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actions under SARA may result in dif-
ferent outcomes.

[52 FR 10705, Apr. 2, 1987, as amended at 72
FR 57241, Oct. 9, 2007; 74 FR 30234, June 26,
2009)

§761.128 Definitions.

For purposes of this policy, certain
words and phrases are used to denote
specific materials, procedures, or cir-
cumstances. The following definitions
are provided for purposes of clarity and
are not to be taken as exhaustive lists
of situations and materials covered by
the policy.

Double wash/rinse means a minimum
requirement to cleanse solid surfaces
(both impervious and nonimpervious)
two times with an appropriate solvent
or other material in which PCBs are at
least 5 percent soluble (by weight). A
volume of PCB-free fluid sufficient to
cover the contaminated surface com-
pletely must be used in each wash/
rinse. The wash/rinse requirement does
not mean the mere spreading of solvent
or other fluid over the surface, nor does
the requirement mean a once-over wipe
with a soaked cloth. Precautions must
be taken to contain any runoff result-
ing from the cleansing and to dispose
properly of wastes generated during
the cleansing.

High-concentration PCBs means PCBs
that contain 500 ppm or greater PCBs,
or those materials which EPA requires
to be assumed to contain 500 ppm or
greater PCBs in the absence of testing.

High-contact industrial surface means
a surface in an industrial setting which
is repeatedly touched, often for rel-
atively long periods of time. Manned
machinery and control panels are ex-
amples of high-contact industrial sur-
faces. High-contact industrial surfaces
are generally of impervious solid mate-
rial. Examples of low-contact indus-
trial] surfaces include ceilings, walls,
floors, roofs, roadways and sidewalks
in the industrial area, utility poles, un-
manned machinery, concrete pads be-
neath electrical equipment, curbing,
exterior structural building compo-
nents, indoor vaults, and pipes.

High-contact residential/commercial sur-
face means a surface in a residential/
commercial area which is repeatedly
touched, often for relatively long peri-
ods of time. Doors, wall areas below 6

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feet in height, uncovered flooring,
windowsills, fencing, bannisters, stairs,
automobiles, and children’s play areas
such as outdoor patios and sidewalks
are examples of high-contact residen-
tial/commercial surfaces. Examples of
low-contact residential/commercial
surfaces include interior ceilings, inte-
rior wall areas above 6 feet in height,
roofs, asphalt roadways, concrete road-
ways, wooden utility poles, unmanned
machinery, concrete pads beneath elec-
trical equipment, curbing, exterior
structural building components (e.g.,
aluminum/vinyl siding, cinder block,
asphalt tiles), and pipes.

Impervious solid surfaces means solid
surfaces which are nonporous and thus
unlikely to absorb spilled PCBs within
the short period of time required for
cleanup of spills under this policy. Im-
pervious solid surfaces include, but are
not limited to, metals, glass, alu-
minum siding, and enameled or lami-
nated surfaces.

Low-concentration PCBs means PCBs
that are tested and found to contain
less than 500 ppm PCBs, or those PCB-
containing materials which EPA re-
quires to be assumed to be at con-
centrations below 500 ppm (i.e., untest-
ed mineral oil dielectric fluid).

Nonimpervious solid surfaces means
solid surfaces which are porous and are
more likely to absorb spilled PCBs
prior to completion of the cleanup re-
quirements prescribed in this policy.
Nonimpervious solid surfaces include,
but are not limited to, wood, concrete,
asphalt, and plasterboard,

Nonrestricted access areas means any
area other than restricted access, out-
door electrical substations, and other
restricted access locations, as defined
in this section. In addition to residen-
tial/commercial areas, these areas in-
clude unrestricted access rural areas
(areas of low density development and
population where access is uncon-
trolled by either man-made barriers or
naturally occurring barriers, such as
rough terrain, mountains, or cliffs).

Other restricted access (nonsubstation)
locations means areas other than elec-
trical substations that are at least 0.1
kilometer (km) from a residential/com-
mercial area and limited by man-made

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barriers (e.g., fences and walls) to sub-
stantially limited by naturally occur-
ring barriers such as mountains, cliffs,
or rough terrain. These areas generally
include industrial facilities and ex-
tremely remote rural locations. (Areas
where access is restricted but are less
than 0.1 km from a residential/commer-
cial area are considered to be residen-
tial/commercial areas.)

Outdoor electrical substations means
outdoor, fenced-off, and restricted ac-
cess areas used in the transmission
andor distribution of electrical power
Outdoor electrical substations restrict
public access by being fenced or walled
off as defined under §761.30(1)(1)(ii). For
purposes of this TSCA policy, outdoor
electrical substations are defined as
being located at least 0.1 km from a
residential/commercial area. Outdoor
fenced-off and restricted access areas
used in the transmission and/or dis-
tribution of electrical power which are
located less than 0.1, km from a resi-
dential/commercial area are considered
to be residential/commercial areas,

PCBs means polychlorinated
biphenyls as defined under §761.3, As
specified under §761.1(b), no require-
ments may be avoided through dilution
of the PCB concentration.

Requirements and standards means:

(1) “Requirements” as used in this
policy refers to both the procedural re-
sponses and numerical decontamina-
tion levels set forth in this policy as
constituting adequate cleanup of PCBs.

(2) ‘‘Standards” refers to the numer-
ica] decontamination levels set forth in
this policy.

Residential/commercial areas means
those areas where people live or reside,
or where people work in other than
manufacturing or farming industries.
Residential areas include housing and
the property on which housing is lo-
cated, as well as playgrounds, road-
ways, sidewalks, parks, and other simi-
lar areas within a residential commu-
nity. Commercial areas are typically
accessible to both members of the gen-
eral public and employees and include
public assembly properties, institu-
tional properties, stores, office build-
ings, and transportation centers.

Responsible party means the owner of
the PCB equipment, facility, or other
source of PCBs or his/her designated

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agent (e.g., a facility manager or fore-
man).

Soil means all vegetation, soils and
other ground media, including but not
limited to, sand, grass, gravel, and oys-
ter shells. It does not include concrete
and asphalt.

Spill means both intentional and un-
intentional spills, leaks, and other un-
controlled discharges where the release
results in any quantity of PCBs run-
ning off or about to run off the exter-
nal surface of the equipment or other
PCB source, as well as the contamina-
tion resulting from those releases. This
policy applies to spills of 50 ppm or
greater PCBs. The concentration of
PCBs spilled is determined by the PCB
concentration in the material spilled
as opposed to the concentration of
PCBs in the material onto which the
PCBs were spilled. Where a spill of un-
tested mineral oi] occurs, the oil is pre-
sumed to contain greater than 50 ppm,
but less than 500 ppm PCBs and is sub-
ject to the relevant requirements of
this policy.

Spill area means the area of soil on
which visible traces of the spill can be
observed plus a buffer zone of 1 foot be-
yond the visible traces. Any surface or
object (e.g., concrete sidewalk or auto-
mobile) within the visible traces area
or on which visible traces of the spilled
material are observed is included in
the spill area. This area represents the
minimum area assumed to be contami-
nated by PCBs in the absence of
precleanup sampling data and is thus
the minimum area which must be
cleaned.

Spill boundaries means the actual
area of contamination as determined
by postcleanup verification sampling
or by precleanup sampling to deter-
mine actual spill boundaries. HPA can
require additional cleanup when nec-
essary to decontaminate all areas with-
in the spill boundaries to the levels re-
quired in this policy (e.g., additional
cleanup will be required if postcleanup
sampling indicates that the area decon-
taminated by the responsible party,
such as the spill area as defined in this
section, did not encompass the actual
boundaries of PCB contamination).

Standard wipe test means, for spills of
high-concentration PCBs on solid sur-
faces, a cleanup to numerical surface

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standards and sampling by a standard
wipe test to verify that the numerical
standards have been met. This defini-
tion constitutes the minimum require-
ments for an appropriate wipe testing
protocol. A standard-size template (10
centimeters (cm) x 10 cm) will be used
to delineate the area of cleanup; the
wiping medium will be a gauze pad or
glass wool of known size which has
been saturated with hexane. It is im-
portant that the wipe be performed
very quickly after the hexane is ex-
posed to air. EPA strongly recommends
that the gauze (or glass wool) be pre-
pared with hexane in the laboratory
and that the wiping medium be stored
in sealed glass vials until it is used for
the wipe test. Further, EPA requires
the collection and testing of field
blanks and replicates.

[62 FR 10705, Apr. 2, 1987; 52 FR 23397, June 19,
1987)

§761.125 Requirements for PCB spill
cleanup.

(a) General. Unless expressly limited,
the reporting, disposal, and precleanup
sampling requirements in paragraphs
(a) (1) through (8) of this section apply
to all spills of PCBs at concentrations
of 50 ppm or greater which are subject
to decontamination requirements
under TSCA, including those spills list-
ed under §761.120(b) which are excluded
from the cleanup standards at para-
graphs (b) and (c) of this section.

(1) Reporting requirements. The report-
ing in paragraphs (a)(1) (i) through (iv)
of this section is required in addition
to applicable reporting requirements
under the Clean Water Act (CWA) or
the Comprehensive Environmental Re-
sponse Compensation and Liability Act
of 1980 (CERCLA). For example, under
the National Contingency Plan all
spills involving 1 pound or more by
weight of PCBs must currently be re-
ported to the National Response Center
(1-800-424-8802). The requirements in
paragraphs (a)(1) (i) through (iv) of this
section are designed to be consistent
with existing reporting requirements
to the extent possible so as to mini-
mize reporting burdens on governments
as well as the regulated community.

(i) Where a spill directly contami-
nates surface water, sewers, or drink-
ing water supplies, as discussed under

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§761.120(d), the responsible party shall
notify the appropriate EPA regional of-
fice and obtain guidance for appro-
priate cleanup measures in the shortest
possible time after discovery, but in no
case later than 24 hours after dis-
covery.

(ii) Where a spill directly contami-
nates grazing lands or vegetable gar-
dens, as discussed under §761.120(d), the
responsible party shall notify the ap-
propriate EPA regional office and pro-
ceed with the immediate requirements
specified under paragraph (b) or (c) of
this section, depending on the source of
the spill, in the shortest possible time
after discovery, but in no case later
than 24 hours after discovery.

(iii) Where a spill exceeds 10 pounds
of PCBs by weight and is not addressed
in paragraph (a)(1) (i) or (ii) of this sec-
tion, the responsible party will notify
the appropriate EPA regional office
and proceed to decontaminate the spill
area in accordance with this TSCA pol-
icy in the shortest possible time after
discovery, but in no case later than 24
hours after discovery.

(iv) Spills of 10 pounds or less, which
are not addressed in paragraph (a)(1) (i)
or (ii) of this section, must be cleaned
up in accordance with this policy (in
order to avoid EPA enforcement liabil-
ity), but notification of EPA is not re-
quired.

(2) Disposal of cleanup debris and mate-
rials. All concentrated soils, solvents,
rags, and other materials resulting
from the cleanup of PCBs under this
policy shall be properly stored, labeled,
and disposed of in accordance with the
provisions of subpart D of this part.

(3) Determination of spill boundaries in
the absence of visible traces. For spills
where there are insufficient visible
traces yet there is evidence of a leak or
spill, the boundaries of the spill are to
be determined by using a statistically
based sampling scheme.

(b) Requirements for cleanup of low-
concentration spills which involve less
than 1 pound of PCBs by weight (less
than 270 gallons of untested mineral oil)—
(1) Decontamination requirements. Spills
of less than 270 gallons of untested
mineral oil, low-concentration PCBs,
as defined under §761.123, which involve
less than 1 pound of PCBs by weight
(e.g., less than 270 gallons of untested

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mineral oil containing less than 500
ppm PCBs) shall be cleaned in the fol-
lowing manner:

(i) Solid surfaces must be double
washe@/rinsed (as defined under
§761.123): except that all indoor, resi-
dential surfaces other than vault areas
must be cleaned to 10 micrograms per
100 square centimeters (10 pe/l00 cm?)
by standard commercial wipe tests.

(ii) All soil within the spill area (i.e.,
visible traces of soil and a buffer of 1
lateral foot around the visible traces)
must be excavated, and the ground be
restored to its original configuration
by back-filling with clean soil (i.e.,
containing less than 1 ppm PCBs).

(iii) Requirements of paragraphs
(b)(1) (i) and (ii) of this section must be
completed within 48 hours after the re-
sponsible party was notified or became
aware of the spill.

(2) Effect of emergency or adverse
weather. Completion of cleanup may be
delayed beyond 48 hours in case of cir-
cumstances including but not limited
to, civil emergency, adverse weather
conditions, lack of access to the site,
and emergency operating conditions.
The occurrence of a spill on a weekend
or overtime costs are not acceptable
reasons to delay response. Completion
of cleanup may be delayed only for the
duration of the adverse conditions. If
the adverse weather conditions, or
time lapse due to other emergency, has
left insufficient visible traces, the re-
sponsible party must use a statistically
based sampling scheme to determine
the spill boundaries as required under
paragraph (a)(3) of this section.

(8) Records and certification. At the
completion of cleanup, the responsible
party shall document the cleanup with
records and certification of decon-
tamination. The records and certifi-
cation must be maintained for a period
of 5 years. The records and certifi-
cation shall consist of the following:

(i) Identification of the source of the
spill (e.g., type of equipment).

(ii) Estimated or actual date and
time of the spill occurrence.

(iii) The date and time cleanup was
completed or terminated (if cleanup
was delayed by emergency or adverse
weather: the nature and duration of
the delay).

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(iv) A brief description of the spill lo-
cation.

(v) Precleanup sampling data used to
establish the spill boundaries if re-
quired because of insufficient visible
traces, and a brief description of the
sampling methodology used to estab-
lish the spill boundaries.

(vi) A brief description of the solid
surfaces cleaned and of the double
wash/rinse method used.

(vii) Approximate depth of soil exca-
vation and the amount of soil removed.

(viii) A certification statement
signed by the responsible party stating
that the cleanup requirements have
been met and that the information con-
tained in the record is true to the best
of his/her knowledge.

(ix) While not required for compli-
ance with this policy, the following in-
formation would be useful if main-
tained in the records:

(A) Additional pre- or post-cleanup
sampling.

(B) The estimated cost of the cleanup
by man-hours, dollars, or both.

(c) Requirements for cleanup of high-
concentration spills and low-concentra-
tion spills involving 1 pound or more
PCBs by weight (270 gallons or more of
untested mineral oil). Cleanup of low-
concentration spills involving 1 lb or
more PCBs by weight and of all spills
of materials other than low-concentra-
tion materials shall be considered com-
plete if all of the immediate require-
ments, cleanup standards, sampling,
and recordkeeping requirements of
paragraphs (c) (1) through (5) of this
section are met.

(1) immediate requirements. The four
actions in paragraphs (c)(1) (i) through
(iv) of this section must be taken as
quickly as possible and within no more
than 24 hours (or within 48 hours for
PCB Transformers) after the respon-
sible party was notified or became
aware of the spill, except that actions
described in paragraphs (c)(1) (ii)
through (iv) of this section can be de-
layed beyond 24 hours if circumstances
(e.g., civil emergency, hurricane, tor-
nado, or other similar adverse weather
conditions, lack of access due to phys-
ical impossibility, or emergency oper-
ating conditions) so require for the du-
ration of the adverse conditions. The
occurrence of a spill on a weekend or

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overtime costs are not acceptable rea-
sons to delay response. Owners of
spilled PCBs who have delayed cleanup
because of these types of circumstances
must keep records documenting the
fact that circumstances precluded
rapid response.

(i) The responsible party shall notify
the EPA regional office and the NRC as
required by §761.125(a)(1) or by other
applicable statutes.

(ii) The responsible party shall effec-
tively cordon off or otherwise delineate
and restrict an area encompassing any
visible traces plus a 3-foot buffer and
place clearly visible signs advising per-
sons to avoid the area to minimize the
spread of contamination as well as the
potential for human exposure.

(iii) The responsible party shall
record and document the area of visible
contamination, noting the extent of
the visible trace areas and the center
of the visible trace area. If there are no
visible traces, the responsible party
shall record this fact and contact the
regional office of the EPA for guidance
in completing statistical sampling of
the spill area to establish spill bound-
aries.

(iv) The responsible party shall ini-
tiate cleanup of all visible traces of the
fluid on hard surfaces and initiate re-
moval of all visible traces of the spill
on soil and other media, such as gravel,
sand, oyster shells, etc.

(v) If there has been a delay in reach-
ing the site and there are insufficient
visible traces of PCBs remaining at the
spill site, the responsible party must
estimate (based on the amount of ma-
terial missing from the equipment or
container) the area of the spill and im-
mediately cordon off the area of sus-
pect contamination. The responsible
party must then utilize a statistically
based sampling scheme to identify the
boundaries of the spill area as soon as
practicable.

(vi) Although this policy requires
certain immediate actions, as de-
scribed in paragraphs (c)(1)(i) through
(iv) of this section, EPA is not placing
a time limit on completion of the
cleanup effort since the time required
for completion will vary from case to
case. However, EPA expects that de-
contamination will be achieved
promptly in all cases and will consider

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promptness of completion in deter-
mining whether the responsible party
made good faith efforts to clean up in
accordance with this policy.

(2) Requirements for decontaminating
spills in outdoor electrical substations.
Spills which occur in outdoor electrical
substations, as defined under §'761.123,
shall be decontaminated in accordance
with paragraphs (c)(2) (i) and (ii) of this
section. Conformance to the cleanup
standards under paragraphs (c)(2) (i)
and (ii) of this section shall be verified
by post-cleanup sampling as specified
under §761.130. At such times as out-
door electrical substations are con-
verted to another use, the spill site
shall be cleaned up to the nonrestricted
access requirements under paragraph
(c)(4) of this section.

(i) Contaminated solid surfaces (both
impervious and non-impervious) shall
be cleaned to a PCB concentration of
100 micrograms (ug)/100 square centi-
meters (cm?) (as measured by standard
wipe tests).

(ii) At the option of the responsible
party, soil contaminated by the spill
will be cleaned either to 25 ppm PCBs
by weight, or to 50 ppm PCBs by weight
provided that a label or notice is visi-
bly placed in the area. Upon dem-
onstration by the responsible party
that cleanup to 25 ppm or 50 ppm will
jeopardize the integrity of the elec-
trical equipment at the substation, the
EPA regional office may establish an
alternative cleanup method or level
and place the responsible party on a
reasonably timely schedule for comple-
tion of cleanup.

(3) Requirements for decontaminating
spills in other restricted access areas.
Spills which occur in restricted access
locations other than outdoor electrical
substations, as defined under §761.123,
shall be decontaminated in accordance
with paragraphs (c)(8) (i) through (v) of
this section. Conformance to the clean-
up standards in paragraphs (c)(3) (i)
through (v) of this section shall be
verified by postcleanup sampling as
specified under §761.130. At such times
as restricted access areas other than
outdoor electrical substations are con-
verted to another use, the spill site
shall be cleaned up to the nonrestricted
access area requirements of paragraph
(c)(4) of this section.

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(i) High-contact solid surfaces, as de-
fined under §761.163 shall be cleaned to
10 pg/100 cm? (as measured by standard
wipe tests).

(ii) Low-contact, indoor, impervious
solid surfaces will be decontaminated
to 10 pe/100 cm?.

(iii) At the option of the responsible
party, low-contact, indoor, nonimper-
vious surfaces will be cleaned either to
10 pe/100 cm? or to 100 pg/100 cm? and
encapsulated. The Regional Adminis-
trator, however, retains the authority
to disallow the encapsulation option
for a particular spill situation upon
finding that the uncertainties associ-
ated with that option pose special con-
cerns at that site. That is, the Re-
gional Administrator would not permit
encapsulation if he/she determined that
if the encapsulation failed the failure
would create an imminent hazard at
the site.

(iv) Low-contact, outdoor surfaces
(both impervious and nonimpervious)
shall be cleaned to 100 12/100 em?.

(v) Soil contaminated by the spill
will be cleaned to 25 ppm PCBs by
weight.

(4) Requirements for decontaminating
spills in nonrestricted access areas. Spills
which occur in nonrestricted access lo-
cations, as defined under §761.123, shall
be decontaminated in accordance with
paragraphs (c)(4) (i) through (v) of this
section, Conformance to the cleanup
standards at paragraphs (c)(4) (i)
through (v) of this section shall be
verified by postcleanup sampling as
specified under § 761.130.

(i) Furnishings, toys, and other eas-
ily replaceable household items shall
be disposed of in accordance with the
provisions of subpart D of this part and
replaced by the responsible party.

(ii) Indoor solid surfaces and high-
contact outdoor solid surfaces, defined
as high contact residential/commercial
surfaces under § 761.123, shall be cleaned
to 10 pg/100 cm? (as measured by stand-
ard wipe tests).

(iii) Indoor vault areas and low-con-
tact, outdoor, impervious solid surfaces
shall be decontaminated to 10 pg/100
com?.

(iv) At the option of the responsible
party, low-contact, outdoor, nonimper-
vious solid surfaces shall be either
cleaned to 10 pg/100 cm? or cleaned to

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100 wg/100 cm? and encapsulated. The
Regional Administrator, however, re-
tains the authority to disallow the en-
capsulation option for a particular spill
situation upon finding that the uncer-
tainties associated with that option
pose special concerns at that site. That
is, the Regional Administrator would
not permit encapsulation if he/she de-
termined that if the encapsulation
failed the failure would create an im-
minent hazard at the site.

(v) Soil contaminated by the spill
will be decontaminated to 10 ppm PCBs
by weight provided that soil is exca-
vated to a minimum depth of 10 inches.
The excavated soil will be replaced
with clean soil, i.e., containing less
than 1 ppm PCBs, and the spill site will
be restored (e.g., replacement of turf).

(5) Records. The responsible party
shall document the cleanup with
records of decontamination. The
records must be maintained for a pe-
riod of 5 years. The records and certifi-
cation shall consist of the following:

(i) Identification of the source of the
spill, e.g., type of equipment.

Gi) Estimated or actual date and
time of the spill occurrence.

(iii) The date and time cleanup was
completed or terminated (if cleanup
was delayed by emergency or adverse
weather: the nature and duration of
the delay).

(iv) A brief description of the spill lo-
cation and the nature of the materials
contaminated. This information should
include whether the spill occurred in
an outdoor electrical substation, other
restricted access location, or in a non-
restricted access area,

(v) Precleanup sampling data used to
establish the spill boundaries if re-
quired because of insufficient visible
traces and a brief description of the
sampling methodology used to estab-
lish the spill boundaries.

(vi) A brief description of the solid
surfaces cleaned.

(vii) Approximate depth of soil exca-
vation and the amount of soil removed.

(viii) Postcleanup verification sam-
pling data and, if not otherwise appar-
ent from the documentation, a brief de-
scription of the sampling methodology
and analytical technique used.

(ix) While not required for compli-
ance with this policy, information on

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the estimated cost of cleanup (by man-
hours, dollars, or both) would be useful
if maintained in the records.

[62 FR 10705, Apr. 2, 1987, as amended at 53
FR 40084, Oct. 19, 1988; 63 FR 35461, June 29,
1998; 72 FR. 57241, Oct. 9, 2007)

§761.130 Sampling requirements.

Postcleanup sampling is required to
verify the level of cleanup under
§761.125(c) (2) through (4). The respon-
sible party may use any statistically
valid, reproducible, sampling scheme
(either random samples or grid sam-
ples) provided that the requirements of
paragraphs (a) and (b) of this section
are satisfied.

(a) The sampling area is the greater
of (1) an area equal to the area cleaned
plus an additional 1-foot boundary, or
(2) an area 20 percent larger than the
original area of contamination.

(b) The sampling scheme must ensure
95 percent confidence against false
positives.

(c) The number of samples must be
sufficient to ensure that areas of con-
tamination of a radius of 2 feet or more
within the sampling area will be de-
tected, except that the minimum num-
ber of samples is 3 and the maximum
number of samples is 40.

(d) The sampling scheme must in-
clude calculation for expected varia-
bility due to analytical error.

(e) EPA recommends the use of a
sampling scheme developed by the Mid-
west Research Institute (MRI) for use
in enforcement inspections:
“Verification of PCB Spill Cleanup by
Sampling and Analysis."’ Guidance for
the use of this sampling scheme is
available in the MRI report ‘Field
Manual for Grid Sampling of PCB Spill
Sites to Verify Cleanup."’ Both the MRI
sampling scheme and the guidance doc-
ument are available on EPA’s PCB Web
site at Atip:/‘www.epa.gov/peb, or from
the Program Management, Commu-
nications, and Analysis Office, Office of
Resource Conservation and Recovery
(5305P), 1200 Pennsylvania Ave., NW.,
Washington, DC 20460-0001. The major
advantage of this sampling scheme is
that it is designed to characterize the
degree of contamination within the en-
tire sampling area with a high degree
of confidence while using fewer sam-
ples than any other grid or random

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sampling scheme. This sampling
scheme also allows some sites to be
characterized on the basis of composite
samples.

(f) EPA may, at its discretion, take
samples from any spill site. If EPA’s
sampling indicates that the remaining
concentration level exceeds the re-
quired level, EPA will require further
cleanup. For this purpose, the numer-
ical level of cleanup required for spills
cleaned in accordance with §761.125(b)
is deemed to be the equivalent of nu-
merical cleanup requirements required
for cleanups under §761.125(c) (2)
through (4). Using its best engineering
judgment, EPA may sample a statis-
tically valid random or grid sampling
technique, or both. When using engi-
neering judgment or random “grab”
samples, EPA will take into account
that there are limits on the power of a
grab sample to dispute statistically
based sampling of the type required of
the responsible party. EPA head-
quarters will provide guidance to the
EPA regions on the degree of certainty
associated with various grab sample re-
sults.

[52 FR 10705, Apr. 2, 1987, as amended at 60
FR 34465, July 3, 1995; 72 FR 57241, Oct. 9,
2007; 74 FR 30234, June 25, 2009)

§761.135 Effect of compliance with
this policy and enforcement.

(a) Although a spill of material con-
taining 50 ppm or greater PCBs is con-
sidered improper PCB disposal, this
policy establishes requirements that
EPA considers to be adequate cleanup
of the spilled PCBs. Cleanup in accord-
ance with this policy means compli-
ance with the procedural as well as the
numerical requirements of this policy.
Compliance with this policy creates a
presumption against both enforcement
action for penalties and the need for
further cleanup’ under TSCA. The
Agency reserves the right, however, to
initiate appropriate action to compel
cleanup where, upon review of the
records of cleanup or EPA sampling
following cleanup, EPA finds that the
decontamination levels in the policy
have not been achieved. The Agency
also reserves the right to seek pen-
alties where the Agency believes that
the responsible party has not made a
good faith effort to comply with all

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provisions of this policy, such as
prompt notification of EPA of a spill,
recordkeeping, etc.

(b) EPA’s exercise of enforcement
discretion does not preclude enforce-
ment action under other provisions of
TSCA or any other Federal statute.
This includes, even in cases where the
numerical decontamination levels set
forth in this policy have been met, civil
or criminal action for penalties where
EPA believes the spill to have been the
result of gross negligence or knowing
violation.

Subparts H-| [Reserved]

Subpart J—General Records and
Reports

§761.180 Records and monitoring.

This section contains recordkeeping
and reporting requirements that apply
to PCBs, PCB Items, and PCB storage
and disposal facilities that are subject
to the requirements of the part.

(a) PCBs and PCB Items in service or
projected for disposal. Beginning Feb-
ruary 5, 1990, each owner or operator of
a facility, other than a commercial
storer or a disposer of PCB waste,
using or storing at any one time at
least 45 kilograms (99.4 pounds) of
PCBs contained in PCB Container(s), or
one or more PCB Transformers, or 50 or
more PCB Large High or Low Voltage
Capacitors shall develop and maintain
at the facility, or a central facility pro-
vided they are maintained at that fa-
cility, all annual records and the writ-
ten annual document log of the disposi-
tion of PCBs and PCB Items. The writ-
ten annual document log must be pre-
pared for each facility by July 1 cov-
ering the previous calendar year (Janu-
ary through December). The annual
document log shall be maintained for
at least 3 years after the facility ceases
using or storing PCBs and PCB Items
in the quantities prescribed in this
paragraph. Annual records (manifests
and certificates of disposal) shall be
maintained for the same period. The
annual records and the annual docu-
ment log shall be available for inspec-
tion at the facility where they are
maintained by authorized representa-
tives of EPA during normal business
hours, and each owner or operator of a

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facility subject to these requirements
shall know the location of these
records. All records and annual docu-
ments required to be prepared and
maintained by this section’ prior to
February 5, 1990 shall continue to be
maintained at the facility for the same
time as the annual records and the an-
nual document log. The annual docu-
ment required for 1989 shall cover the
period from January 1, 1989 to Feb-
ruary 5, 1990.

(1) The annual records shall include
the following:

dd) All signed manifests generated by
the facility during the calendar year.

(ii) All Certificates of Disposal that
have been received by the facility dur-
ing the calendar year.

(iii) Records of inspections and clean-
ups performed in accordance with
§761.65(c)(5).

(2) The written annual document log
shall include the following:

(i) The name, address, and EPA iden-
tification number of the facility cov-
ered by the annual document log and
the calendar year covered by the an-
nual document log.

(ii) The unique manifest number of
every manifest generated by the facil-
ity during the calendar year, and from
each manifest and for unmanifested
waste that may be stored at the facil-
ity, the following information:

(A) For bulk PCB waste (eg., in a
tanker or truck), its weight in kilo-
grams, the first date it was removed
from service for disposal, the date it
was placed into transport for off-site
storage or disposal, and the date of dis-
posal, if known.

(B) The serial number (if available)
or other means of identifying each PCB
Article (e.g., transformer or capacitor),
the weight in kilograms of the PCB
waste in each transformer or capacitor,
the date it was removed from service
for disposal, the date it was placed in
transport for off-site storage or dis-
posal, and the date of disposal, if
Enown.

(C) A unique number identifying each
PCB Container, a description of the
contents of each PCB Container, such
as liquid, soil, cleanup debris, etc., in-
cluding the total weight of the mate-
rial in kilograms in each PCB Con-
tainer, the first date material placed in

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each PCB Container was removed from
service for disposal, and the date each
PCB Container was placed in transport
for off-site storage or disposal, and the
date of disposal (if known).

(D) A unique number identifying each
PCB Article Container, a description of
the contents of each PCB Article Con-
tainer, such as pipes, capacitors, elec-
tric motors, pumps, etc., including the
total weight in kilograms of the con-
tent of each PCB Article Container, the
first date a PCB Article placed in each
PCB Article Container was removed
from service for disposal, and the date
the PCB Article Container was placed
in transport for off-site storage or dis-
posal, and the date of disposal (if
known.)

dii) The total number by specific
type of PCB Articles and the total
weight in kilograms of PCBs in PCB
Articles, the total number of PCB Arti-
cle Containers and total weight in kilo-
grams of the contents of PCB Article
Containers, the total number of PCB
Containers and the total weight in
kilograms of the contents of PCB Con-
tainers, and the total weight in kilo-
grams of bulk PCB waste that was
placed into storage for disposal or dis-
posed during the calendar year.

(iv) The total number of PCB Trans-
formers and total weight in kilograms
of PCBs contained in the transformers
remaining in service at the end of the
calendar year.

(v) The total number of Large High
or Low Voltage PCB Capacitors re-
maining in service at the end of the
calendar year.

(vi) The total weight in kilograms of
any PCBs and PCB Items in PCB Con-
tainers, including the identification of
container contents, remaining in serv-
ice at the facility at the end of the cal-
endar year.

(vii) For any PCBs or PCB item re-
ceived from or shipped to another facil-
ity owned or operated by the same gen-
erator, the information required under
paragraph (a)(2)(11)(A) through
(a(2\ii)(D) of this section.

(viii) [Reserved]

(ix) Whenever a PCB Item, excluding
small capacitors, with a concentration
of 250 ppm is distributed in commerce
for reuse pursuant to §761.20(c)(1), the
name, address, and telephone number

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of the person to whom the item was
transferred, date of transfer, and the
serial number of the item or the inter-
nal identification number, if a serial
number is not available, must be re-
corded in the annual document log.
The serial number or internal identi-
fication number shall be permanently
marked on the equipment.

(3) [Reserved]

(4) For purposes of this paragraph,
PCB Voltage Regulators shall be re-
corded as PCB Transformers.

(b) Disposers and commercial storers of
PCB waste. Beginning February 5, 1990,
each owner or operator of a facility (in-
cluding high efficiency boiler oper-
ations) used for the commercial stor-
age or disposal of PCBs and PCB Items
shall maintain annual records on the
disposition of all PCBs and PCB items
at the facility and prepare and main-
tain a written annual document log
that includes the information required
by paragraphs (b)(2) of this section for
PCBs and PCB Items that were handled
as PCB waste at the facility. The writ-
ten annual document log shall be pre-
pared by July 1 for the previous cal-
endar year (January through Decem-
ber). The written annual document log
shall be maintained at each facility for
at least 3 years after the facility is no
longer used for the storage or disposal
of PCBs and PCB Items except that, in
the case of chemica] waste landfills,
the annual document log shall be main-
tained at least 20 years after the chem-
ical waste landfill is no longer used for
the disposal of PCBs and PCB Items.
The annual records shall be maintained
for the same period. The annual
records and written annual document
log shall be available at the facility for
inspection by authorized representa-
tives of the EPA. All records and an-
nual documents required to be prepared
and maintained by this section prior to
February 5, 1990 shall continue to be
maintained at the facility for the same
time as the annual records and the an-
nual document log. The annual docu-
ment for 1989 shall cover the period
from January 1, 1989 to February 5,
1990. From the written annual docu-
ment log the owner or operator of a fa-
cility must prepare the annual report
containing the information required by
paragraphs (b)(3)(i) through (b)(3)(vi) of

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this section for PCBs and PCB Items
that were handled as PCB waste at the
facility during the previous calendar
year (January through December). The
annual report must be submitted by
July 15 of each year for the preceding
calendar year. If the facility ceases
commercial PCB storage or disposal
operations, the owner or operator of
the facility shall provide at least 60
days advance written notice to the Re-
gional Administrator for the region in
which the facility is located of the date
the facility intends to begin closure. d

(1) The annual records shall include
the following:

(i) All signed manifests generated or
received at the facility during the cal-
endar year.

(ii) All Certificates of Disposal that
have been generated or received by the
facility during the calendar year.

(iii) Records of inspections and clean-
ups performed in accordance with
§'761.65(c)(5).

(2) The written annual document log
shall include the following:

(i) The name, address, and EPA iden-
tification number of the storage or dis-
posal facility covered by the annual
document log and the calendar year
covered by the annual document log.

(ii) For each manifest generated or
received by the facility during the cal-
endar year, the unique manifest num-
ber and the name and address of the fa-
cility that generated the manifest and
the following information:

(A) For bulk PCB waste (e.g., in a
tanker or truck), its weight in kilo-
grams, the first date PCB waste placed
in the tanker or truck was removed
from service for disposal, the date it
was received at the facility, the date it
was placed in transport for off-site dis-
posal (if applicable), and the date of
disposal, (if known).

(B) The serial number or other means
of identifying each PCB Article, not in
a PCB Container or PCB Article Con-
tainer, the weight in kilograms of the
PCB waste in the PCB Article, the date
it was removed from service for dis-
posal, the date it was received at the
facility, the date it was placed in
transport for off-site disposal (if appli-
cable), and the date of disposal (if
known).

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(C) The unique number assigned by
the generator identifying each PCB
Container, a description of the con-
tents of each PCB Container, such as
liquid, soil, cleanup debris, etic., includ-
ing the total weight of the PCB waste
in kilograms in each PCB Container,
the first date PCB waste placed in each
PCB Container was removed from serv-
ice for disposal, the date it was re-
ceived at the facility, the date each
PCB Container was placed in transport
for off-site storage or disposal (as ap-
plicable), and the date the PCB Con-
tainer was disposed of (if known).

(D) The unique number assigned by
the generator identifying each PCB Ar-
ticle Container, a description of the
contents of each PCB Article Con-
tainer, such as pipes, capacitors, elec-
tric motors, pumps, etc., including the
total weight in kilograms of the PCB
waste in each PCB Article Container,
the first date a PCB Article placed in
each PCB Article Container was re-
moved from service for disposal, the
date it was received at the facility, the
date each PCB Article Container was
placed in transport for off-site storage
or disposal (as applicable), and the date
the PCB Article Container was dis-
posed of (if known).

(E) Disposers of PCB waste shall in-
clude the confirmed date of disposal for
items in paragraphs (b)(2)(ii)(A)
through (b)(2)(ii)(D) of this section.

(iii) For any PCB waste disposed at a
facility that generated the PCB waste
or any PCB waste that was not mani-
fested to the facility, the information
required under paragraph (b)(2)(ii)(A)
through (b)(2)(ii)(E) of this section.

(3) The owner or operator of a PCB
disposal facility (including an owner or
operator who disposes of his/her own
waste and does not receive or generate
manifests) or a commercial storage fa-
cility shall submit an annual report,
which briefly summarizes the records
and annual document log required to
be maintained and prepared under
paragraphs (b)(1) and (b)(2) of this.sec-
tion to the EPA Regional Adminis-
trator of the Region in which the facil-
ity is located by July 15 of each year,
beginning with July 15, 1991. The first
annual report submitted on July 15,
1991, shall be for the period starting
February 5, 1990, and ending December

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$1, 1990. The annual report shall con-
tain no confidential business informa-
tion. The annual report shall consist of
the information listed in paragraphs
(b)(3)Gi) through (b)(3)(vi) of this sec-
tion.

(i) The name, address, and EPA iden-
tification number of the facility cov-
ered by the annual report for the cal-
endar year.

(ii) A list of the numbers of all signed
manifests of PCB waste initiated or re-
ceived by the facility during that year.

(iii) The total weight in kilograms of
bulk PCB waste, PCB waste in PCB
Transformers, PCB waste in PCB Large
High or Low Voltage Capacitors, PCB
waste in PCB Article Containers, and
PCE waste in PCB Containers in stor-
age at the facility at the beginning of
the calendar year, received or gen-
erated at the facility, transferred to
another facility, or disposed of at the
facility during the calendar year. The
information must be provided for each
of these categories, as appropriate.

(iv) The total number of PCB Trans-
formers, the total number of PCB
Large High or Low Voltage Capacitors,
the total number of PCB Article Con-
tainers, and the total number of PCB
Containers in storage at the facility at
the beginning of the calendar year, re-
ceived or generated at the facility,
transferred to another facility, or dis-
posed of at the facility during the cal-
endar year. The information must be
provided for each of these categories,
as appropriate.

(v) The total weight in kilograms of
each of the following PCB categories:
bulk PCB waste, PCB waste in PCB
Transformers, PCB waste in PCB Large
High or Low Voltage Capacitors, PCB
waste in PCB Article Containers, and
PCB waste in PCB Containers remain-
ing in storage for disposal at the facil-
ity at the end of the calendar year.

(vi) The total number of PCB Trans-
formers, the total number of PCB
Large High or Low Voltage Capacitors,
the total number of PCB Article Con-
tainers, and the total number of PCB
Containers remaining in storage for
disposal at the facility at the end of
the calendar year.

(vii) The requirement to submit an-
nual reports to the Regional Adminis-
trator continues until the submission

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of the annual report for the calendar
year during which the facility ceases
PCB storage or disposal operations.
Storage operations have not ceased
until all PCB waste, including any PCB
waste generated during closure, has
been removed from the facility.

(4) Whenever a commercial storer of
PCB waste accepts PCBs or PCB Items
at his storage facility and transfers the
PCB waste off-site to another facility
for storage or disposal, the commercial
storer of PCB waste shall initiate a
manifest under subpart K of this part
for the transfer of PCBs or PCB Items
to the next storage or disposal facility.

Nore: Any requirements for weights in
kilograms of PCBs may be calculated values
if the internal volume of PCBs in containers
and transformers is known and included in
the reports, together with any assumptions
on the density of the PCBs contained in the
containers or tranformers. If the internal
volume of PCBs is not known, a best esti-
mate may be used.

(5) For purposes of this paragraph,
PCB Voltage Regulators shall be re-
corded and reported as PCB Trans-
formers.

(c) Incineration facilities. Each owner
or operator of a PCB incinerator facil-
ity shall collect and maintain for a pe-
riod of 5 years from the date of collec-
tion the following information, in addi-
tion to the information required in
paragraph (b) of this section:

(1) When PCBs are being incinerated,
the following continuous and short-in-
terval data:

(i) Rate and quantity of PCBs fed to
the combustion system as required in
§'761.70(a)(3);

(ii) Temperature of the combustion
process as required in §761.70(a)(4); and

(iii) Stack emission product to in-
clude O2, CO, and CO2 as required in
§'761.70(a)(7).

(2) When PCBs are being incinerated,
data and records on the monitoring of
stack emissions as required in
§ 761.70(a)(6).

(3) Total weight in kilograms of any
solid residues generated by the inciner-
ation of PCBs and PCB Items during
the calendar year, the total weight in
kilograms of any solid residues dis-
posed of by the facility in chemical
waste landfills, and the total weight in
kilograms of any solid residues remain-
ing on the facility site.

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(4) When PCBs and PCB Items are
being incinerated, additional periodic
data shall be collected and maintained
as specified by the Regional Adminis-
trator pursuant to §761.70(d)(4).

(5) Upon any suspension of the oper-
ation of any incinerator pursuant to
§761.70(a)(8), the owner or operator of
such an incinerator shall prepare a doc-
ument. The document shall, at a min-
imum, include the date and time of the
suspension and an explanation of the
circumstances causing the suspension
of operation. The document shall be
sent to the appropriate Regional Ad-
ministrator within 30 days of any such
suspension.

(d) Chemical waste landfill facilities.
Each owner or operator of a PCB chem-
ical waste landfill facility shall collect
and maintain until at least 20 years
after the chemical waste landfill is no
longer used for the disposal of PCBs
the following information in addition
to the information required in para-
graph (b) of this section:

(1) Any water analysis obtained in
compliance with § 761.75(b)(6)(iii); and

(2) Any operations records including
burial coordinates of wastes obtained
in compliance with §'761.75(b)(8)(ii).

(e) High efficiency boiler facilities.
Each owner or operator of a high effi-
ciency boiler used for the disposal of
liquids between 50 and 500 ppm PCB
shall collect and maintain for a period
of 5 years the following information, in
addition to the information required in
paragraph (b) of this section:

(1) For each month PCBs are burned
in the boiler the carbon monoxide and
excess oxygen data required in
§761.71(a)(1)(vili) and §'761.71(b)(1)(vili);

(2) The quantity of PCBs burned each
month as required in §761.71(a)(1)(vii)
and §761.71(b)(1)(vii); and

(3) For each month PCBs (other than
mineral oil dielectric fluid) are burned,
chemical analysis data of the waste as
required in § 761.71(b)(2)(vi).

(f) Retention of special records by stor-
age and disposal facilities. In addition to
the information required to be main-
tained under paragraphs (b), (c), (d) and
(e) of this section, each owner or oper-
ator of a PCB storage or disposal facil-
ity (including high efficiency boiler op-
erations) shall collect and maintain for

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the time period specified in paragraph
(b) of this section the following data:

(1) All documents, correspondence,
and data that have been provided to
the owner or operator of the facility by
any State or local government agency
and that pertain to the storage or dis-
posal of PCBs and PCB Items at the fa-
cility.

(2) All documents, correspondence,
and data that have been provided by
the owner or operator of the facility to
any State or local government agency
and that pertain to the storage or dis-
posal of PCBs and PCB Items at the fa-
cility.

(3) Any applications and related cor-
respondence sent by the owner or oper-
ator of the facility to any local, State,
or Federal authorities in regard to
waste water discharge permits, solid
waste permits, building permits, or
other permits or authorizations such as
those required by §§761.70(d) and
761.75(c).

(g) Reclassification records. If you re-
Classify electrical equipment using the
procedures in §761.30(a)(2)(v) or
§'761.30(h)(2)(v), you must keep records
showing that you followed the required
reclassification procedures. Where
these procedures require testing, the
records must include copies of pre- and
post-reclassification PCB concentra-
tion measurements from a laboratory
using quality control and quality as-
surance procedures. You must make
these records available promptly to
EPA or to any party possessing the
equipment through sale, loan, lease, or
for servicing. You must retain the
records for at least 3 years after you
sell or dispose of the equipment.

(Sec. 6, Pub. L. 94-469, 90 Stat. 2020 (15 U.S.C.
2605)

(44 FR 31542, May 31, 1979. Redesignated at 47
FR 19527, May 6, 1982, and further redesig-
nated at 47 FR 97360, Aug. 25, 1982; 49 FR
28191, July 10, 1984; 53 FR 12524, Apr. 15, 1988;
54 FR 52750, Dec. 21, 1989; 55 FR 26205, June
27, 1990; 68 FR 34205, June 28, 1993; 63 FR
35461, June 29, 1998; 66 FR 17619, Apr. 2, 2001;
TT FR 54830, Sept. 6, 2012)

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tention of records by importers and

persons generatin in ex-
waded manufacturing processes.

(a) In addition to meeting the basic
requirements of §761.1(f) and the defini-
tion of excluded manufacturing proc-
esses at §761.3, manufacturers with
processes inadvertently generating
PCBs and importers of products con-
taining inadvertently generated PCBs
must report to EPA any excluded man-
ufacturing process or imports for which
the concentration of PCBs in products
leaving the manufacturing site or im-
ported is greater than 2 micrograms
per gram (2 pe/g, roughly 2 ppm) for
any resolvable gas chromatographic
peak. Such reports must be filed by Oc-
tober 1, 1984 or, if no processes or im-
ports require reports at the time, with-
in 90 days of having processes or im-
ports for which such reports are re-
quired.

(b) Manufacturers required to report
by paragraph (a) of this section must
transmit a letter notifying EPA of the
number, the type, and the location of
excluded manufacturing processes in
which PCBs are generated when the
PCB level in products leaving any man-
ufacturing site is greater than 2 pe/e
for any resolvable gas chromatographic
peak. Importers required to report by
paragraph (a) of this section must
transmit a letter notifying EPA of the
concentration of PCBs in imported
products when the PCB concentration
of products being imported is greater
than 2 ue/e for any resolvable gas
chromatographic peak. Persons must
also certify the following:

(1) Their compliance with all applica-
ble requirements of §761.1(f), including
any applicable requirements for air and
water releases and process waste dis-
posal.

(2) Whether determinations of com-
pliance are based on actual monitoring
of PCB levels or on theoretical assess-
ments.

(3) That such determinations of com-
pliance are being maintained.

(4) If the determination of compli-
ance is based on a theoretical assess-
ment, the letter must also notify EPA
of the estimated PCB concentration
levels generated and released.

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(c) Any person who reports pursuant
to paragraph (a) of this section:

(1) Must have performed either a the-
oretical analysis or actual monitoring
of PCB concentrations.

(2) Must maintain for a period of
three years after ceasing process oper-
ations or importation, or for seven
years, whichever is shorter, records
containing the following information:

(i) Theoretical analysis. Manufacturers
records must include: the reaction or
reactions believed to be generating
PCBs; the levels of PCBs generated;
and the levels of PCBs released. Im-
porters records must include: the reac-
tion or reactions believed to be gener-
ating PCBs and the levels of PCBs gen-
erated; the basis for all estimations of
PCB concentrations; and the name and
qualifications of the person or persons
performing the theoretical analysis; or

(ii) Actual monitoring. (A) The method
of analysis.

(B) The results of the analysis, in-
cluding data from the Quality Assur-
ance Plan.

(C) Description of the sample matrix.

(D) The name of the analyst or ana-
lysts.

(E) The date and time of the analysis.

(F) Numbers for the lots from which
the samples are taken.

(dq) The certification required by
paragraph (b) of this section must be
signed by a responsible corporate offi-
cer, This certification must be main-
tained by each facility or importer for
a period of three years after ceasing
process operation or importation, or
for seven years, whichever is shorter,
and must be made available to EPA
upon request. For the purpose of this
section, a responsible corporate officer
means:

(1) A president, secretary, treasurer,
or vice-president of the corporation in
charge of a principal business function,
or any other person who performs simi-
lar policy or decision-making functions
for the corporation.

(2) The manager of one or more man-
ufacturing, production, or operating fa-
cilities employing more than 250 per-
sons or having gross annual sales or ex-
penditures exceeding $25,000,000 (in sec-
ond quarter 1980 dollars), if authority
to sign documents has been assigned or

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delegated to the manager in accord-
ance with corporate procedures.

(e) Any person signing a document
under paragraph (d) of this section
shall also make the following certifi-
cation:

I certify under penalty of law that this
document and all attachments were prepared
under my direction or supervision in accord-
ance with a system designed to assure that
qualified personnel properly gather and
evaluate information. Based on my inquiry
of the person or persons directly responsible
for gathering information, the information
is, to the best of my knowledge and belief,
true, accurate, and complete. I am aware
that there are significant penalties for fal-
sifying information, including the possibility
of fines and imprisonment for knowing viola-
tions.

Dated: |

Signature: _

(f) This report must be submitted to
the Document Control Office (DCO)
(7407M), Office of Pollution Prevention
and Toxics (OPPT), Environmental
Protection Agency, 1200 Pennsylvania
Ave., NW., Washington, DC 20460-0001,
ATTN: PCB Notification. This report
must be submitted by October 1, 1984 or
within 90 days of starting up processes
or commencing importation of PCBs.

(z) This certification process must be
repeated whenever process conditions
are significantly modified to make the
previous certification no longer valid.

(Sec. 6, Pub. L. 94-469, 90 Stat, 2020 (15 U.S.C.
2605)

{49 FR 28191, July 10, 1984; 49 FR 33019, Aug.
20, 1984, as amended at 53 FR 12524, Apr. 15,
1988; 58 FR 34205, June 23, 1993; 59 FR 933697,
June 30, 1994; 60 FR 34465, July 3, 1995; 71 FR
33642, June 12, 2006)

$761.187 Reporting importers and
persons generatin poPCEs in eS
cluded man’ processes.

In addition to meeting the basic re-
quirements of §761.1(f) and the defini-
tion of excluded manufacturing process
at §1761.8, PCB-generating manufac-
turing processes or importers of PCB-
containing products shall be considered
“excluded manufacturing processes”
only when the following conditions are
met:

(a) Data are reported to the EPA by
the owner/operator or importer con-
cerning the total quantity of PCBs in
product from excluded manufacturing

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processes leaving any manufacturing
site in any calendar year when such
quantity exceeds 0.0025 percent of that
site’s rated capacity for such manufac-
turing processes as of October 1, 1984;
or the total quantity of PCBs imported
in any calendar year when such quan-
tity exceeds 0.0025 percent of the aver-
age total quantity of such product con-
taining PCBs imported by such im-
porter during the years 1978, 1979, 1980,
1981 and 1982.

(b) Data are reported to the EPA by
the owner/operator concerning the
total quantity of inadvertently gen-
erated PCBs released to the air from
excluded manufacturing processes at
any manufacturing site in any calendar
year when such quantity exceeds 10
pounds.

(c) Data are reported to the EPA by
the owner/operator concerning the
total quantity of inadvertently gen-
erated PCBs released to water from ex-
cluded manufacturing processes from
any manufacturing site in any calendar
year when such quantity exceeds 10
pounds.

(d) These reports must be submitted
to the Document Control Office (DCO)
(7407M), Office of Pollution Prevention
and Toxics (OPPT), Environmental
Protection Agency, 1200 Pennsylvania
Ave., NW., Washington, DC 20460-0001,
ATTN: PCB Notification.

(Sec. 6, Pub. L. 94-469, 90 Stat. 2020 (15 U.S.C.
2605)

{49 FR 28192. July 10, 1984, as amended at 53
FR 12524, Apr. 15, 1988; 58 FR 34205, June 23.
1993; 59 FR 33697, Jume 30, 1994; 60 FR 34465,
July 3, 1995; 71 FR 33642, June 12, 2006)

inadvertently generated

(a) Persons who import, manufac-
ture, process, distribute in commerce,
or use chemicals containing PCBs
present as a result of inadvertent gen-
eration or recycling who perform any
actual monitoring of PCB concentra-
tions must maintain records of any
such monitoring for a period of three
years after a process ceases operation
or importing ceases, or for seven years,
whichever is shorter.

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(b) Monitoring records maintained
pursuant to paragraph (a) of this sec-
tion must contain:

(1) The method of analysis.

(2) The results of the analysis, in-
cluding data from the Quality Assur-
ance Plan.

(3) Description of the sample matrix.

(4) The name of the analyst or ana-
lysts.

(5) The date and time of the analysis.

(6) Numbers for the lots from which
the samples are taken.

(Sec. 6, Pub. L. 94-469, 90 Stat. 2020 (16 U.8.C.
)

(49 FR 28193, July 10, 1984, as amended at 58
FR 34205, June 23, 1993)

Subpart K—PCB Waste Disposal
Records and Reports

Source: 54 FR 52752, Dec. 21, 1989, unless
otherwise noted.

§761.202 EPA identification numbers.

(a) General. Any generator, commer-
cial storer, transporter, or disposer of
PCB waste who is required to have an
EPA identification number under this
subpart must notify EPA of his/her
PCB waste handling activities, using
the notification procedures and form
described in §761.205. EPA will confirm
the EPA identification number of fa-
cilities already assigned one, and will
assign an EPA identification number
to facilities that do not have one.

(b) Prohibitions. After June 4, 1990:

(1) A generator of PCB waste shall
not:

(i) Process, store, dispose of, trans-
port, or offer for transportation PCB
waste without having received an EPA
identification number from the Agen-
cy. A generator of PCB waste who is
exempted from notification under
§761.205(c)(1) or who notifies EPA in a
timely manner under §761.205(c)(2)(i),
but has not yet received a unique iden-
tification number, shall be regarded as
having received from EPA the identi-
fication number “40 CFR PART 761.”

(ii) Offer the PCB waste to trans-
porters, disposers, or commercial stor-
ers of PCB waste who have not received
an EPA identification number.

(2) A transporter of PCB waste shall
not:

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(i) Transport PCB waste without hav-
ing received an EPA identification
number from EPA.

(ii) Deliver PCB waste to trans-
porters, disposers, or commercial stor-
ers of PCB waste that have not re-
ceived an EPA identification number.

(3) A commercial storer of PCB waste
shall not accept any PCB waste for
storage without having received an
EPA identification number from EPA.

(4) A disposer of PCB waste shall not
accept any PCB waste for disposal
without having received an EPA identi-
fication number from EPA. A disposer
of PCB waste who owns more than one
disposal facility or mobile treatment
unit shall not accept waste unless the
disposer has received an EPA identi-
fication number for each facility or
mobile unit.

(c) PCB waste handled prior to effective
date of this subpart. Generators (other
than generators exempt from notifica-
tion under §761.205(c)(1)), commercial
storers, transporters, and disposers of
PCB waste who are required to have
EPA identification numbers under this
subpart, and who were engaged in PCB
waste handling activities on or prior to
February 5, 1990, are not subject to the
prohibitions of paragraph (b) of this
section if they have applied for an EPA
identification number in accordance
with the applicable notification proce-
dures of §761.205. Such persons shall
use the EPA identification number ‘40
CFR PART 761,” or a number assigned
to the persons by EPA or a State under
RCRA, until EPA issues to such per-
sors a specific identification number
under §761.205(a), (b), or (c).

(d) PCB wasie first handled after effec-
tive date of this subpart. Generators
(other than generators exempt from
notification under §761.205(c)(1)), com-
mercial storers, transporters, and dis-
posers of PCB waste who are required
to have EPA identification numbers
under this subpart, and who first en-
gage in PCB waste activities after Feb-
ruary 5, 1990, are subject to the prohibi-
tions in paragraph (b) of this section.

§761.205 Notification of PCB waste ac-
tivity (EPA Form 7710-53).

(a)(1) All commercial storers, trans-
porters, and disposers of PCB waste

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who were engaged in PCB waste han-
dling activities on or prior to February
5, 1990 shall notify EPA of their PCB
waste activities by filing EPA Form
7710-53 with EPA by no later than April
4, 1990. Upon receiving the notification
form, EPA will assign an EPA identi-
fication number to each entity that no-
tifies.

(2) All generators (other than genera-
tors exempt from notification under
paragraph (c)(1) of this section), com-
mercial storers, transporters, and dis-
posers of PCB waste who first engage
in PCB waste handling activities after
February 5, 1990, shall notify EPA of
their PCB waste activities by filing
EPA Form 7710-53 with EPA prior to
engaging in PCB waste handling activi-
ties.

(8) Any person required to notify
EPA under this section shall file with
EPA Form 7710-53. Copies of EPA Form
7710-53 are available on EPA’s Web site
at http:/Awww.epa.gov/pceb, or from the
Program Management, Communica-
tions, and Analysis Office, Office of Re-
source Conservation and Recovery
(5305P), Environmental Protection
Agency, 1200 Pennsylvania Ave., NW.,
Washington, DC 20460-0001. Descriptive
information and instructions for filling
in the form are included in paragraphs
(a)(4)(i) through (vii) of this section.

(4) All of the following information
shall be provided to EPA on Form 7710-
53:

dG) The name of the facility, and the
name of the owner or operator of the
facility.

(ii) EPA identification number, if
any, previously issued to the facility.

(iii) The facility’s mailing address.

(iv) The location of the facility.

(v) The facility’s installation contact
and telephone number.

(vi) The type of PCB waste activity
engaged in at the facility.

(vii) Signature of the signer of the
certification statement, typed or print-
ed name and official title of signer, and
date signed.

(viii) EPA has determined that the
information in paragraphs (a)(4)(i)
through (a)(4)(vii) of this section shall
not be treated as confidential business
information, This information will be
disclosed to the public without further
notice to the submitter unless the sub-

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mitter provides a written justification
(submitted with the notification form)
which demonstrates extraordinary rea-
sons why the information should be en-
titled to confidential treatment.

(b) Generators (other than those gen-
erators exempt from notification under
paragraph (c)(1) of this section), com-
mercial storers, transporters, and dis-
posers of PCB waste who have pre-
viously notified EPA or a State of haz-
ardous waste activities under RCRA
shall notify EPA of their PCB waste
activities under this part by filing EPA
Form 7710-53 with EPA by no later
than April 4, 1990. The notification
shall include the EPA identification
number previously issued by EPA or
the State and upon receipt of the noti-
fication, EPA shall verify and author-
ize the use of the previously issued
identification number for PCB waste
activities.

(c)(1) Generators of PCB waste need
not notify EPA and receive unique
EPA identification numbers under this
section, unless their PCB waste activi-
ties are described in paragraph (c)(2) of
this section. Generators exempted from
notifying EPA under this paragraph
shall use the generic identification
number ‘40 CFR PART 761’’ on the
manifests, records, and reports which
they shall prepare under this subpart,
unless such generators elect to use a
unique EPA identification number pre-
viously assigned to them under RCRA
by EPA or a State.

(2) Generators of PCB waste who use,
own, service, or process PCBs or PCB
Items shall notify EPA of their PCB
waste activities only if they own or op-
erate PCB storage facilities subject to
the storage requirements of §761.65 (b)
or (c)(7). Such generators shall notify
EPA in the following manner:

(i) Generators storing PCB waste sub-
ject to the storage requirements of
§761.65 (b) or (c)(7) shall notify EPA by
filing EPA Form 7710-53 with EPA by
no later than April 4, 1990.

(ii) Generators who desire to com-
mence storage of PCB waste after Feb-
ruary 5, 1990 shall notify EPA and re-
ceive an EPA identification number be-
fore they may commence storage of
PCBs at their facilities established
under §761.65 (b) or (c)(7).

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(iii) A separate notification shall be
submitted to EPA for each PCB storage
facility owned or operated by genera-
tors of PCB waste. Upon receiving
these notifications, EPA will assign
generators unique EPA identification
numbers for each storage facility noti-
fying EPA under this section.

(d) Persons required to notify under
this section shall file EPA Form 7710-538
with EPA by mailing the form to the
following address: Document Control
Officer, Office of Resource Conserva-
tion and Recovery (5305P), Environ-
mental Protection Agency, 1200 Penn-
sylvania Ave., NW., Washington, DC
20460-0001. :

(e) The requirements under this sec-
tion to notify EPA and obtain EPA
identification numbers shall in no case
excuse compliance by any person sub-
ject to the 1-year limit on storage prior
to disposal under §761.65(a).

(f) When a facility has previously no-
tified EPA of its PCB waste handling
activities using EPA Form 7710-53 and
those activities change, the facility
must resubmit EPA Form 7710-53 to re-
flect those changes no later than 30
days from when a change is made. Ex-
amples of when a PCB waste handler
must renotify the Agency include, but
are not limited to the following: the
company changes location of the facil-
ity; or the company had notified solely
as engaging in a certain type of PCB
waste handling activity and now wish-
es to engage in another PCB waste ac-
tivity (e.g., previously only commer-
cially stored PCB waste and now wish-
es to transport PCB waste).

(54 FR 52752, Dec. 21, 1999, as amended at 59
FR 15809, Mar. 24, 1993; 68 FR 34205, June 23,
1993; 59 FR 33697, June 30, 1994; 63 FR 35461,
June 29, 1998; 72 FR 57241, Oct. 9, 2007; 74 FR
30234, June 25, 2009]

§761.207 The manifest—general re-
quirements.

(a) A generator who transports, or of-
fers for transport PCB waste for com-
mercial] off-site storage or off-site dis-
posal, and commercial storage or dis-
posal facility who offers for transport a
rejected load of PCB waste, must pre-
pare a manifest on EPA Form 8700-22,
and, if necessary, a continuation sheet,
according to the instructions included

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in the appendix of 40 CFR Part 262. The
generator shall specify:

(1) For each bulk load of PCBs, the
identity of the PCB waste, the earliest
date of removal from service for dis-
posal, and the weight in kilograms of
the PCB waste. (Item 14—Special Han-
dling Instructions box)

(2) For each PCB Article Container or
PCB Container, the unique identifying
number, type of PCB waste (e.g., soil,
debris, small capacitors), earliest date
of removal from service for disposal,
and weight in kilograms of the PCB
waste contained. (Item 14—Special
Handling Instructions box)

(3) For each PCB Article not in a
PCB Container or PCB Article Con-
tainer, the serial number if available,
or other identification if there is no se-
ria] number, the date of removal from
service for disposal, and weight in kilo-
grams of the PCB waste in each PCB
Article. (Item 14—Special Handling In-
structions box)

NOTE 1 TO PARAGRAPH (a): EPA Form 6700-
22A is not required as the PCB manifest con-
tinuation sheet. In practice, form 8700-22A
does not have adequate space to list required
PCB-specific information for several PCB ar-
ticles. However, if form 8700-22A fits the
needs of the user community, the form is
permissible.

NOTE 2 TO PARAGRAPH (a): PCB waste han-
dlers should use the Part 262 appendix in-
structions as a guide, but should defer to the
Part 761 manifest regulations whenever there
is any difference between the Part 761 re-
quirements and the instructions in the ap-
pendix to Part 262. The differences should be
minimal.

NOTE 3 TO PARAGRAPH (a): PCBs are not
regulated under RCRA, thus do not have a
RCRA waste code. EPA does not require
boxes 13 and 31 on forms 8700-22 and 8700-22A
(if used), respectively, to be completed for
shipments only containing PCB waate. How-
ever, some States track PCB wastes as
State-regulated hazardous wastes, and assign
State hazardous waste codes to these wastes.
In such a case, the user should follow the
State instructions for completing the waste
code fields.

(b) A generator must designate on
the manifest one facility which is ap-
proved to handle the PCB waste de-
scribed on the manifest.

(c) A generator may also designate
on the manifest one alternate facility
which is approved to handle his PCB

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waste in the event an emergency pre-
vents delivery of the waste to the pri-
mary designated facility.

(ad) If the transporter is unable to de-
liver the PCB waste to the designated
facility or the alternate facility, the
generator must either designate an-
other facility or instruct the trans-
porter to return the PCB waste.

(e) The requirements of this section
apply only to PCB wastes as defined in
§761.3. This includes PCB wastes with
PCB concentrations below 50 ppm
where the PCB concentration below 50
ppm was the result of dilution; these
PCB wastes are required under §761.1(b)
to be managed as if they contained
PCB concentrations of 50 ppm and
‘above. An example of such a PCB waste
is spill cleanup material containing <50
ppm PCBs when the spill involved ma-
terial containing PCBs at a concentra-
tion of 250 ppm. However, there is no
manifest requirement for material cur-
rently below 50 ppm which derives from
pre-April 18, 1978, spills of any con-
centration, pre-July 2, 1979, spills of
<500 ppm PCBs, or materials decon-
taminated in accordance with § 761.79.

(f) The requirements of this subpart
do not apply to the transport of PCB
wastes on a public or private right-of-
way within or along the border of con-
tiguous property under the control of
the same person, even if such contig-
uous property is divided by a public or
private right-of-way.

(77 FR 54830, Sept. 6, 2012, as amended at 80
FR 37995, July 2, 2015]

§ 761.208 Obtaining manifests.

(a)(1) A generator may use manifests
printed by any source so long as the
source of the printed form has received
approval from EPA to print the mani-
fest under 40 CFR 262.21 (c) and (e), A
registered source may be a:

(i) State agency;

(ii) Commercial printer;

diii) PCB waste generator,
porter or, designated facility; or

(iv) PCB waste broker or other pre-
parer who prepares or arranges ship-
ments of PCB waste for transportation.

(2) A generator must determine
whether the generator state or the con-
signment state for a shipment regu-
lates PCB waste as a State-regulated
hazardous waste. Generators also must

trans-

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determine whether the consignment
state or generator state requires the
generator to submit any copies of the
manifest to these states. In cases
where the generator must supply cop-
ies to either the generator’s state or
the consignment state, the generator is
responsible for supplying legible photo-
copies of the manifest to these states.
(b) [Reserved]

(77 FR 64831, Sept. 6, 2012)
§761.209 Number of copies of a mani-
fest.

The manifest consists of at least the
number of copies which will provide
the generator, each transporter, and
the owner or operator of the designated
facility with one copy each for their
records and another copy to be re-
turned to the generator.

[TT FR 64831, Sept. 6, 2012]

§761.210 Use of the manifest—Gener-
ator requirements,

(a) The generator must:

(1) Sign the manifest certification by
hand; and

(2) Obtain the handwritten signature
of the initial transporter and date of
acceptance on the manifest; and

(3) Retain one copy, in accordance
with §761.214(a)(1).

(b) The generator must give the
transporter the remaining copies of the
manifest.

(c) For shipments of PCB waste with-
in the United States solely by water
(bulk shipments only), the generator
must send three copies of the manifest
dated and signed in accordance with
this section to the owner or operator of
the designated facility. Copies of the
manifest are not required for each
transporter.

(d) For rail shipments of PCB waste
within the United States which origi-
nate at the site of generation, the gen-
erator must send at least three copies
of the manifest dated and signed in ac-
cordance with this section to:

(1) The next non-rail transporter, if
any; or

(2) The designated facility if trans-
ported solely by rail.

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(e) For rejected shipments of PCB
waste that are returned to the gener-
ator by the designated facility (fol-
lowing the procedures of §761.215(f)),
the generator must:

(1) Sign either:

(i) Item 20 of the new manifest if a
new manifest is used for the returned
shipment; or

(ii) Item 18c¢ of the original manifest
if the original manifest is used for the
returned shipment;

(2) Provide the transporter a copy of
the manifest;

(3) Within 30 days of delivery of the
rejected shipment, send a copy of the
manifest to the designated facility that
returned the shipment to the gener-
ator; and

(4) Retain at the generator’s site a
copy of each manifest for at least three
years from the date of delivery.

(77 FR 54831, Sept. 6, 2012)

§761.211 Manifest
porter requirements.

(a)(1) A transporter shall not accept
PCB waste from a generator unless it is
accompanied by a manifest signed by
the generator in accordance with
§761.210(a)(1), except that a manifest is
not required if any one of the following
conditions exists:

(i) The shipment of PCB waste con-
sists solely of PCB wastes with PCB
concentrations below 50 ppm, unless
the PCB concentration below 50 ppm
was the result of dilution, in which
case §761.1(b) requires that the waste
be managed as if it contained PCBs at
the concentration prior to dilution.

(ii) The PCB waste is accepted by the
transporter for transport only to a
storage or disposal facility owned or
operated by the generator of the PCB
waste.

(2) [Reserved]

(b) Before transporting the PCB
waste, the transporter must sign and
date the manifest acknowledging ac-
ceptance of the PCB waste from the
generator. The transporter must return
a signed copy to the generator before
leaving the generator’s property.

(c) The transporter shall ensure that
the manifest accompanies the PCB
waste.

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(d) A transporter who delivers PCB
waste to another transporter or to the
designated facility must:

(1) Obtain the date of delivery and
the handwritten signature of that
transporter or of the owner or operator
of the designated facility on the mani-
fest; and

(2) Retain one copy of the manifest in
accordance with §'761.214; and

(8) Give the remaining copies of the
manifest to the accepting transporter
or designated facility.

(e) The requirements of paragraphs
(c), (d) and (f of this section do not
apply to water (bulk shipment) trans-
porters if:

(1) The PCB waste is delivered by
water (bulk shipment) to the des-
ignated facility; and

(2) A shipping paper containing all
the information required on the mani-
fest (excluding EPA identification
number, generator certification, and
signatures) accompanies the PCB
waste; and

(3) The delivering transporter obtains
the date of delivery and handwritten
signature of the owner or operator of
the designated facility on either the
manifest or the shipping paper; and

(4) The person delivering the PCB
waste to the initial water (bulk ship-
ment) transporter obtains the date of
delivery and signature of the water
(bulk shipment) transporter on the
manifest and forwards it to the des-
ignated facility; and

(5) A copy of the shipping paper or
manifest is retained by each water
(bulk shipment) transporter in accord-
ance with §'761.214.

(f) For shipments involving rail
transportation, the requirements of
paragraphs (c), (d) and (e) do not apply
and the following requirements do
apply:

(1) When accepting PCB waste from a
non-rail transporter, the initial rail
transporter must:

(i) Sign and date the manifest ac-
knowledging acceptance of the PCB
waste;

Gi) Return a signed copy of the mani-
fest to the non-rail transporter;

(iii) Forward at least three copies of
the manifest to:

(A) The next non-rail transporter, if
any, or,

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(B) The designated facility, if the
shipment is delivered to that facility
by rail;

(iv) Retain one copy of the manifest
and rail shipping paper in accordance
with § 761.214.

(2) Rail transporters must ensure
that a shipping paper containing all
the information required on the mani-
fest (excluding the EPA identification
numbers, generator certification, and
signatures) accompanies the PCB waste
at all times.

NOTE: Intermediate rail transporters are
not required to sign either the manifest or
shipping paper.

(3) When delivering PCB waste to the
designated facility, a rail transporter
must:

(i) Obtain the date of delivery and
handwritten signature of the owner or
operator of the designated facility on
the manifest or the shipping paper (if
the manifest has not been received by
the facility); and

(ii) Retain a copy of the manifest or
signed shipping paper in accordance
with § 761.214.

(4) When delivering PCB waste to a
non-rail transporter a rail transporter
must:

di) Obtain the date of delivery and
the handwritten signature of the next
non-rail transporter on the manifest;
and

(ii) Retain a copy of the manifest in
accordance with § 761.214.

(5) Before accepting PCB waste from
a rail transporter, a non-rail trans-
porter must sign and date the manifest
and provide a copy to the rail trans-
porter.

(7? FR 54832, Sept. 6, 2012)
§761.212 Transporter compliance with
the manifest.

(a) The transporter must deliver the
entire quantity of PCB waste which he
has accepted from a generator or a
transporter to:

(1) The designated facility listed on
the manifest; or

(2) The alternate designated facility,
if the PCB waste cannot be delivered to
the designated facility because an
emergency prevents delivery; or

(3) The next designated transporter.

(b)(1) If the PCB waste cannot be de-
livered in accordance with paragraph

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(a) of this section because of an emer-
gency condition other than rejection of
the waste by the designated facility,
then the transporter must contact the
generator for further directions and
must revise the manifest according to
the generator’s instructions.

(2) If PCB waste is rejected by the
designated facility while the trans-
porter is on the facility's premises,
then the transporter must obtain the
following:

(i) For a partial load rejection, a
copy of the original manifest that in-
cludes the facility's date and signature,
and the Manifest Tracking Number of
the new manifest that will accompany
the shipment, and a description of the
partial rejection in the discrepancy
block of the original manifest. The
transporter must retain a copy of this
manifest in accordance with §'761.214,
and give the remaining copies of the
original manifest to the rejecting des-
ignated facility. If the transporter is
forwarding the rejected part of the
shipment to an alternate facility or re-
turning it to the generator, the trans-
porter must obtain a new manifest to
accompany the shipment, and the new
manifest must include all of the infor-
mation required in 40 CFR 761.215(e)(1)
through (6) or (f)(1) through (6).

(ii) For a full load rejection that will
be taken back by the transporter, a
copy of the original manifest that in-
cludes the rejecting facility’s signature
and date attesting to the rejection, the
description of the rejection in the dis-
crepancy block of the manifest, and the
name, address, phone number, and
Identification Number for the alternate
facility or generator to whom the ship-
ment must be delivered. The trans-
porter must retain a copy of the mani-
fest in accordance with §761.214, and
give a copy of the manifest containing
this information to the rejecting des-
ignated facility. If the original mani-
fest is not used, then the transporter
must obtain a new manifest for the
shipment and comply with 40 CFR
761.215(e)(1) through (6).

(iii) No provision of this section shall
be construed to affect or limit the ap-
plicability of any requirement applica-
ble to transporters of PCB waste under
regulations issued by the Department

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of Transportation (DOT) and set forth
at 49 CFR Part 171.

(17 FR 54832, Sept. 6, 2012]

§761.218 Use of manifest—Commercial
storage and disposal facility re-
quirements.

(a)(1) If a commercial storage or dis-
posal facility receives PCB waste ac-
companied by a manifest, the owner,
operator or his/her agent must sign and
date the manifest as indicated in para-
graph (a)(2) of this section to certify
that the PCB waste covered by the
manifest was received, that the PCB
waste was received except as noted in
the discrepancy space of the manifest,
or that the PCB waste was rejected as
noted in the manifest discrepancy
space.

(2) If a commercial storage or dis-
posal facility receives an off-site ship-
ment of PCB waste accompanied by a
manifest, the owner or operator, or his
agent, shall:

(i) Sign and date, by hand, each copy
of the manifest;

Gi) Note any discrepancies (as de-
fined in §761.215(a)) on each copy of the
manifest;

(iii) Immediately give the trans-
porter at least one copy of the mani-
fest;

(iv) Within 30 days of delivery, send a
copy of the manifest to the generator;
and

(v) Retain at the facility a copy of
each manifest for at least three years
from the date of delivery.

(b) If a commercial storage or dis-
posal facility receives, from a rail or
water (bulk shipment) transporter,
PCB waste which is accompanied by a
shipping paper containing all the infor-
mation required on the manifest (ex-
cluding the EPA identification num-
bers, generator’s certification, and sig-
natures), the owner or operator, or his
agent, must:

(1) Sign and date each copy of the
manifest or shipping paper (if the
manifest has not been received) to cer-
tify that the PCB waste covered by the
manifest or shipping paper was re-
ceived;

(2) Note any significant discrepancies
(as defined in §761.215(a)) in the mani-
fest or shipping paper (if the manifest

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has not been received) on each copy of
the manifest or shipping paper.

NOTE TO PARAGRAPH (b)(2): The Agency
does not intend that the owner or operator of
a facility whose procedures include waste
analysis must perform that analysis before
signing the shipping paper and giving it to
the transporter. Section 761.215(a), however,
requires reporting an unreconciled discrep-
ancy discovered during later analysis.

(3) Immediately give the rail or water
(bulk shipment) transporter at least
one copy of the manifest or shipping
paper (if the manifest has not been re-
ceived);

(4) Within 30 days after the delivery,
send a copy of the signed and dated
manifest or a signed and dated copy of
the shipping paper (if the manifest has
not been received within 30 days after
delivery) to the generator; and

NOTE TO PARAGRAPH (b)(4): Section
761.210(c) requires the generator to send
three copies of the manifest to the facility
when PCB waste is sent by rail or water
(bulk shipment).]

(5) Retain at the facility a copy of
the manifest and shipping paper (if
signed in lieu of the manifest at the
time of delivery) for at least three
years from the date of delivery.

(c) Whenever an off-site shipment of
PCB waste is initiated from a commer-
cial storage or disposal facility, the
owner or operator of the commercial
storage or disposal facility shall com-
ply with the manifest requirements
that apply to generators of PCB waste
(§ 761.207).

{iT FR 54833, Sept. 6, 2012]
§761.214 Retention of
records

manifest

(a)(1) A generator must keep a copy
of each manifest signed in accordance
with §761.210(a) for three years or until
he receives a signed copy from the des-
ignated facility which received the
PCB waste. This signed copy must be
retained as a record for at least three
years from the date the waste was ac-
cepted by the initial transporter. A
generator subject to annual document
requirements under §'761.180 shall re-
tain copies of each manifest for the pe-
riod required by §761.190(a).

(2) A transporter of PCB waste must
keep a copy of the manifest signed by

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the generator, himself, and the next
designated transporter or the owner or
operator of the designated facility for a
period of three years from the date the
PCB waste was accepted by the initial
transporter.

(b) For shipments delivered to the
designated facility by water (bulk ship-
ment), each water (bulk shipment)
transporter must retain a copy of the
shipping paper containing all the infor-
mation required in §761.211(e)(2) for a
period of three years from the date the
PCB waste was accepted by the initial
transporter.

(c) For shipments of PCB waste by
rail within the United States:

(1) The initial rail transporter must
keep a copy of the manifest and ship-
ping paper with all the information re-
quired in §761.211(f)(2) for a period of
three years from the date the PCB
waste was accepted by the initial
transporter; and

(2) The final rail transporter must
keep a copy of the signed manifest (or
the shipping paper if signed by the des-
ignated facility in lieu of the manifest)
for a period of three years from the
date the PCB waste was accepted by
the initial transporter.

NOTE TO PARAGRAPH (c): Intermediate rail
transporters are not required to keep records
pursuant to these regulations.

(d) A generator must keep a copy of
each Exception Report for a period of
at least three years from the due date
of the report.

(e) The periods of retention referred
to in this Section are extended auto-
matically during the course of any un-
resolved enforcement action regarding
the regulated activity or as requested
by the Administrator.

(77 FR 64833, Sept. 6, 2012]

§761.215 Manifest discrepancies.

(a) Manifest discrepancies are:

(1) Significant differences (as defined
by paragraph (b) of this section) be-
tween the quantity or type of PCB
waste designated on the manifest or
shipping paper, and the quantity and
type of PCB waste a facility actually
receives; or .

(2) Rejected wastes, which may be a
full or partial shipment of PCB waste

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that the designated facility cannot ac-
cept.

(b) Significant differences in quan-
tity are: For bulk waste, variations
greater than 10 percent in weight or
variations greater than 10 percent in
weight of PCB waste in containers; for
batch waste, any variation in piece
count, such as a discrepancy of one
PCB Transformer or PCB Container or
PCB Article Container in a truckload.
Significant differences in type are ob-
vious differences which can be discov-
ered by inspection or waste analysis,
such as the substitution of solids for
liquids or the substitution of high con-
centration PCBs (above 500 ppm) with
lower concentration materials.

(c) Upon discovering a significant dif-
ference in quantity or type, the owner
or operator must attempt to reconcile
the discrepancy with the waste gener-
ator or transporter (e.g., with tele-
phone conversations). If the discrep-
ancy is not resolved within 15 days
after receiving the waste, the owner or
operator must immediately submit to
the Regional Administrator a letter de-
scribing the discrepancy and attempts
to reconcile it, and a copy of the mani-
fest or shipping paper at issue.

(d)(1) Upon rejecting the PCB waste,
the facility must consult with the gen-
erator prior to forwarding the waste to
another facility that can manage the
waste. If it is impossible to locate an
alternative facility that can receive
the waste, the facility may return the
rejected waste to the generator. The fa-
cility must send the waste to the alter-
native facility or to the generator
within 60 days of the rejection identi-
fication.

(2) While the facility is making ar-
rangements for forwarding rejected
wastes to another facility under this
section, it must ensure that either the
delivering transporter retains custody
of the waste, or, the facility must pro-
vide for secure, temporary custody of
the waste, pending delivery of the
waste to the first transporter des-
ignated on the manifest prepared under
paragraph (e) or (f) of this section.

(6) Except as provided in paragraph
(e)(7) of this section, for full or partial
load rejections that are to be sent off-

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site to an alternate facility, the facil-
ity is required to prepare a new mani-
fest in accordance with §761.207(a) and
the following instructions:

(1) Write the generator’s U.S. EPA ID
number in Item 1 of the new manifest.
Write the generator’s name and mail-
ing address in Item 5 of the new mani-
fest. If the mailing address is different
from the generator’s site address, then
write the generator’s site address in
the designated space for Item 5.

(2) Write the name of the alternate
designated facility and the facility’s
U.S. EPA ID number in the designated
facility block (Item 8) of the new mani-
fest.

(3) Copy the manifest tracking num-
ber found in Item 4 of the old manifest
to the Special Handling and Additional
Information Block of the new manifest,
and indicate that the shipment is a re-
jected waste from the previous ship-
ment.

(4) Copy the manifest tracking num-
ber found in Item 4 of the new manifest
to the manifest reference number line
in the Discrepancy Block of the old
manifest (Item 18a).

(5) Write the DOT description for the
rejected load in Item 9 (U.S. DOT De-
scription) of the new manifest and
write the container types, quantity,
and volume(s) of waste.

(6) Sign the Generator’s/Offeror’s Cer-
tification to certify, as the offeror of
the shipment, that the waste has been
properly packaged, marked and labeled
and is in proper condition for transpor-
tation, and mail a signed copy of the
manifest to the generator identified in
Item 5 of the new manifest.

(7) For full load rejections that are
made while the transporter remains
present at the facility, the facility may
forward the rejected shipment to the
alternate facility by completing Item
18b of the original manifest and sup-
plying the information on the next des-
tination facility in the Alternate Fa-
cility space. The facility must retain a
copy of this manifest for its records,
and then give the remaining copies of
the manifest to the transporter to ac-
company the shipment. If the original
manifest is not used, then the facility
must use a new manifest and comply
with paragraphs (e)(1), (2), (3), (4), (5),
and (6) of this section.

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(f) Except as provided in paragraph
(f)(7) of this section, for rejected wastes
that must be sent back to the gener-
ator, the facility is required to prepare
a new manifest in accordance with
§761.207(a) and the following instruc-
tions:

(1) Write the facility’s U.S. EPA ID
number in Item 1 of the new manifest.
Write the facility’s name and mailing
address in Item 5 of the new manifest.
If the mailing address is different from
the facility’s site address, then write
the facility’s site address in the des-
ignated space for Item 5 of the new
manifest.

(2) Write the name of the initial gen-
erator and the generator’s U.S. EPA ID
number in the designated facility block
(Item 8) of the new manifest.

(3) Copy the manifest tracking num-
ber found in Item 4 of the old manifest
to the Special Handling and Additional
Information Block of the new manifest,
and indicate that the shipment is a re-
jected waste from the previous ship-
ment.

(4) Copy the manifest tracking num-
ber found in Item 4 of the new manifest
to the manifest reference number line
in the Discrepancy Block of the old
manifest (Item 18a).

(5) Write the DOT description for the
rejected load in Item 9 (U.S. DOT De-
scription) of the new manifest and
write the container types, quantity,
and volume(s) of waste.

(6) Sign the Generator’s/Offeror's Cer-
tification to certify, as offeror of the
shipment, that the waste has been
properly packaged, marked and labeled
and is in proper condition for transpor-
tation.

(7) For full load rejections that. are
made while the transporter remains at
the facility, the facility may return
the shipment to the generator with the
original manifest by completing Item
18a and 18b of the manifest and sup-
plying the generator’s information in
the Alternate Facility space. The facil-
ity must retain a copy for its records
and then give the remaining copies of
the manifest to the transporter to ac-
company the shipment. If the original
manifest is not used, then the facility
must use a new manifest and comply
with paragraphs (f)(1), (2), (3), (4), (5),
(6), and (8) of this section.

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(8) For full or partial load rejections
that are returned to the generator, the
facility must also comply with the ex-
ception reporting requirements in
§761.217(a).

(g) If a facility rejects a waste after
it has signed, dated, and returned a
copy of the manifest to the delivering
transporter or to the generator, the fa-
cility must amend its copy of the
manifest to indicate the rejected
wastes in the discrepancy space of the
amended manifest. The facility must
also copy the manifest tracking num-
ber from Item 4 of the new manifest to
the Discrepancy space of the amended
manifest, and must re-sign and date
the manifest to certify to the informa-
tion as amended. The facility must re-
tain the amended manifest for at least
three years from the date of amend-
ment, and must within 30 days, send a
copy of the amended manifest to the
transporter and generator that re-
ceived copies prior to their being
amended.

(77 FR 54839, Sept. 6, 2012]

$761.216 Unmanifested waste report.

(a) If a facility accepts for storage or
disposal any PCB waste from an off-
site source without an accompanying
manifest, or without an accompanying
shipping paper as described by
§761.211(e), and the owner or operator
of the commercial storage or disposal
facility cannot contact the generator
of the PCB waste, then he shall notify
the Regional Administrator of the EPA
region in which his facility is located
of the unmanifested PCB waste so that
the Regional Administrator can deter-
mine whether further actions are re-
quired before the owner or operator
may store or dispose of the
unmanifested PCB waste, and addition-
ally the owner or operator must pre-
pare and submit a letter to the Re-
gional Administrator within 15 days
after receiving the waste. The
unmanifested waste report must con-
tain the following information:

(1) The EPA identification number,
name and address of the facility;

(2) The date the facility received the
waste;

(3) The EPA identification number,
name and address of the generator and
the transporter, if available;

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(4) A description and the quantity of
each unmanifested PCB waste the fa-
cility received;

(5) The method of storage or disposal
for each PCB waste;

(6) Signature of the owner or oper-
ator of the facility or his authorized
representative; and,

(7) A brief explanation of why the
waste was unmanifested, if known.

(8) The disposition made of the
unmanifested waste by the commercial
storage or disposal facility, including:

(i) If the waste was stored or disposed
by that facility, was the generator
identified and was a manifest subse-
quently supplied.

(ii) If the waste was sent back to the
generator, why and when.

(b) [Reserved]

(77 FR 54834, Sept. 6, 2012)

§761.217 Exception reporting.

(a)(1) A generator of PCB waste, who
does not receive a copy of the manifest
with the handwritten signature of the
owner or operator of the designated fa-
cility within 35 days of the date the
waste was accepted by the initial
transporter, shall immediately contact
the transporter and/or the owner or op-
erator of the designated facility to de-
termine the status of the PCB waste.

(2) A generator of PCB waste subject
to the manifesting requirements shall
submit an Exception Report to the
EPA Regional Administrator for the
Region in which the generator is lo-
cated if the generator has not received
a copy of the manifest with the hand
written signature of the owner or oper-
ator of the designated facility within 45
days of the date the waste was accept-
ed by the initial transporter. The ex-
ception report shall be submitted to
EPA no later than 45 days from the
date on which the generator should
have received the manifest. The Excep-
tion Report shall include the following:

(i) A legible copy of the manifest for
which the generator does not have con-
firmation of delivery:

(ii) A cover letter signed by the gen-
erator or his authorized representative
explaining the efforts taken to locate
the PCB waste and the results of those
efforts.

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(b) For rejected shipments of PCB
waste that are forwarded to an alter-
nate facility by a designated facility
using a new manifest (following the
procedures of §761.215(e)(1) through (6)),
the generator must comply with the re-
quirements of paragraph (a) of this sec-
tion, as applicable, for the shipment
forwarding the material from the des-
ignated facility to the alternate facil-
ity instead of for the shipment from
the generator to the designated facil-
ity. For purposes of paragraph (a) of
this section for a shipment forwarding
such waste to an alternate facility by a
designated facility:

(1) The copy of the manifest received
by the generator must have the hand-
written signature of the owner or oper-
ator of the alternate facility in place of
the signature of the owner or operator
of the designated facility, and

(2) The 35- and 45-day timeframes
begin the date the waste was accepted
by the initial transporter forwarding
the PCB waste shipment from the des-
ignated facility to the alternate facil-
ity.

(T7 FR 54836, Sept. 6, 2012)

§761.218 Certificate of disposal.

(a) For each shipment of manifested
PCB waste that the owner or operator
of a disposal facility accepts by signing
the manifest, the owner or operator of
the disposal facility shall prepare a
Certificate of Disposal for the PCBs
and PCB Items disposed of at the facil-
ity, which shall include:

(1) The identity of the disposal facil-
ity, by name, address, and EPA identi-
fication number.

(2) The identity of the PCB waste af-
fected by the Certificate of Disposal in-
cluding reference to the manifest num-
ber for the shipment.

(3) A statement certifying the fact of
disposal of the identified PCB waste,
including the date(s) of disposal, and
identifying the disposal process used.

(4) A certification as defined in
§ 761.3.

(b) The owner or operator of the dis-
posal facility shall send the Certificate
of Disposal to the generator identified
on the manifest which accompanied the
shipment of PCB waste within 30 days
of the date that disposal of each item
of PCB waste identified on the mani-

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fest was completed unless the gener-
ator and the disposer contractually
agree to another time frame.

(c) The disposal facility shall keep a
copy of each Certificate of Disposal
among the records that it retains
under §761.180(b).

(d)(1) Generators of PCB waste shall
keep a copy of each Certificate of Dis-
posal that they receive from disposers
of PCB waste among the records they
retain under §761.180(a).

(2) Commercial storers of PCB waste
shall keep a copy of each Certificate of
Disposal that they receive from dis-
posers of PCB waste among the records
they retain under §761.180(b).

[54 FR 62752, Dec. 21, 1984, as amended at 63
FR 35462, June 29, 1998]

§761.219 One-year exception report-
ing.

(a) A disposer of PCB waste shall sub-
mit a One-year Exception Report to
the EPA Regional Administrator for
the Region in which the disposal facil-
ity is located no later than 45 days
from the end of the l-year storage for
disposal date when the following oc-
curs:

(1) The disposal facility receives
PCBs or PCB Items on a date more
than 9 months from the date the PCBs
or PCB Items were removed from serv-
ice for disposal, as indicated on the
manifest or continuation sheet; and

(2) Because of contractual commit-
ments or other factors affecting the fa-
cility’s disposal capacity, the disposer
of PCB waste could not dispose of the
affected PCBs or PCB Items within 1
year of the date of removal from sery-
ice for disposal.

(b) A generator or commercial storer
of PCB waste who manifests PCBs or
PCB Items to a disposer of PCB waste
shall submit a One-year Exception Re-
port to the EPA Regional Adminis-
trator for the Region in which the gen-
erator or commercial storer is located
no later than 45 days from the date the
following occurs:

(1) The generator or commercial stor-
er transferred the PCBs or PCB Items
to the disposer of PCB waste on a date
within 9 months from the date of re-
moval from service for disposal of the

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affected PCBs or PCB Items, as indi-
cated on the manifest or continuation
sheet; and

(2) The generator or commercial stor-
er either has not received within 13
months from the date of removal from
service for disposal a Certificate of Dis-
posal confirming the disposal of the af-
fected PCBs or PCB Items, or the gen-
erator or commercial storer receives a
Certificate of Disposal confirming dis-
posal of the affected PCBs or PCB
Items on a date more than 1 year after
the date of removal from service.

(c) The One-year Exception Report
shall include: :

(1) A legible copy of any manifest or
other written communication relevant
to the transfer and disposal of the af-
fected PCBs or PCB Items.

(2) A cover letter signed by the sub-
mitter or an authorized representative
explaining:

(i) The date(s) when the PCBs or PCB
Items were removed from service for
disposal.

(ii) The date(s) when the PCBs or
PCB Items were received by the sub-
mitter of the report, if applicable.

(iii) The date(s) when the affected
PCBs or PCB Items were transferred to
a designated disposal facility.

(iv) The identity of the transporters,
commercial storers, or disposers known
to be involved with the transaction.

(v) The reason, if known, for the
delay in bringing about the disposal of
the affected PCBs or PCB Items within
1 year from the date of removal from
service for disposal.

(d) PCB/radioactive waste that is ex-
empt from the l-year storage for dis-
posal time limit pursuant to
§761.65(a)(1) is also exempt from the ex-
ception reporting requirements of para-
graphs (a), (b), and (c) of this section.

(77 FR 54835, Sept. 6, 2012)

Subpart L [Reserved]

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Subpart M—Determining a PCB
Concentration for Purposes of
Abandonment or Disposal of
Natural Gas Pipeline: Select-
ing Sample Sites, Collecting
Surface Samples, and Ana-
lyzing Standard PCB Wipe
amples

SOURCE: 63 FR 35462, June 29, 1998, unless
otherwise noted.

§761.240 Scope and definitions.

(a) Use these procedures to select
surface sampling sites for natural gas
pipe to determine its PCB surface con-
centration for abandonment-in-place or
removal and disposal off-site in accord-
ance with §761.60(b)(5).

(b) ‘‘Pipe segment’? means a length of
natural gas pipe that has been removed
from the pipeline system to be disposed
of or reused, and that is usually ap-
proximately 12.2 meters (40 feet) or
shorter in length. Pipe segments are
usually linear.

(c) “Pipeline section’? means a length
of natural gas pipe that has been cut or
otherwise separated from the active
pipeline, usually for purposes of aban-
donment, and that is usually longer
than 12.2 meters in length. Pipeline
sections may be branched.

§761.243 Standard wipe sample meth-
od and size.

(a) Collect a surface sample from a
natural gas pipe segment or pipeline
section using a standard wipe test as
defined in §761.123. Detailed guidance
for the entire wipe sampling process
appears in the document entitled,
“Wipe Sampling and Double Wash/
Rinse Cleanup as Recommended by the
Environmental Protection Agency PCB
Spill Cleanup Policy,’’ dated June 23,
1987 and revised on April 18, 1991. This
document is available on EPA's Web
site at Attp:/www.epa.gov/pcb, or from
the Program Management, Commu-
nications, and Analysis Office, Office of
Resource Conservation and Recovery
(5305P), Environmental Protection
Agency, 1200 Pennsylvania Ave., NW.,
Washington, DC 20460-0001.

(b) Collect a surface sample from a
minimum surface area of 100 cm? at
each sampling site selected. The EPA

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Regional Administrator may approve,
in writing, requests to collect a sample
from smaller surface areas, when <100
cm? of surface eligible for sampling is
present; e.g., when sampling a small di-
ameter pipe, a small valve, or a small
regulator. When smaller surfaces are
sampled, convert the measurement to
the equivalent measurement for 100
em? for purposes of comparison to
standards based on 100 cm?.

(63 FR 35462, June 29, 1998, as amended at 72
FR 57241, Oct. 9, 2007; 74 FR 30235, June 25,
2009]

§761.247 Sample site selection for pipe
segment removal.

(a) General. (1) Select the pipe seg-
ments to be sampled by following the
directions in paragraph (b) of this sec-
tion.

(2) Locate the proper position along
the length of the pipe segment that
you have selected for sampling, by fol-
lowing the directions in paragraph (c)
of this section.

(8) Select the proper sampling posi-
tion around the circumference of the
pipe segment that you have selected
for sampling, by following the direc-
tions in paragraph (d) of this section.

(4) Prior to removing pipe from the
ground or lifting the pipe from its loca-
tion during former operations, mark
the top side of the pipe.

(5) Do not sample if there are free-
flowing liquids in the pipe segment.
Free-flowing liquids must be removed
prior to sampling.

(b) Selecting pipe segments to sample.
Select the pipe segment(s) that you
will sample from a length of pipe or
group of pipe segments, as follows:

(1) Do not sample a pipe segment
that is longer than 12.2 meters (40 feet).
If a segment is longer than 12.2 meters
in length, cut the segment so that all
resulting segments are 12.2 meters or
less in length.

(2) Determine which pipe segments to
sample as follows:

(i) When a length of pipe having
seven or fewer segments is removed for
purposes of disposal, sample each pipe
segment.

(ii) When removing a length of pipe
having multiple contiguous segments
less than 3 miles in total length, take

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samples from a total of seven seg-
ments.

(A) Sample the first and last seg-
ments removed.

(B) Select the five additional seg-
ments according to one of the two fol-
lowing procedures:

(1) Assign all segments a unique se-
quential number. Then select five num-
bers using a random number table or
random number generator. If the ran-
dom number generator or random num-
ber table produces either the first pipe
segment, the last pipe segment, or any
previously selected segment, select an-
other random number until there are
seven different numbers, each cor-
responding to a different pipe segment.

(2) Divide the total number of seg-
ments by six. Round the resulting
quotient off to the nearest whole num-
ber. The resulting number is the inter-
val between the segments you will
sample. For example, cut a 2.9 mile
length of pipeline into 383 segments of
approximately 40 feet each. Sample the
first (number 1) and last (number 383)
segments. To determine which addi-
tional five segments to sample, divide
the total number of segments, 383, by 6.
Round up the resulting number in this
example, 63.8, to the next whole num-
ber, 64. Add 64 to the number of each
preceding pipe segment five separate
times to select five additional pipe seg-
ments for sampling. In this example,
the first pipe segment has the number
1, add 64 to 1 to select segment 65.
Next, add 64 to 65 to select segment 129.
Continue in this fashion to select all
seven segments: 1, 65, 129, 193, 257, 321,
and 383.

(iii) When removing a length of pipe
having multiple contiguous segments
more than 3 miles in total length for
purposes of disposal, take samples of
each segment that is % mile distant
from the segment previously sampled.
Sample a minimum of seven segments.

(c) Selecting the sampling position—
length. Select the sampling position
along the length of the pipe segment,
as follows:

(1) Take samples at the end upstream
of the former gas flow of each segment
removed.

(2) If the pipe segment is cut with a
torch or other high temperature heat
source, take the sample at least 15 cm

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(6 inches) inside the cut end of the pipe
segment.

(3) If the pipe segment is cut with a
saw or other mechanical device, take
the sample ati least 2 cm (1 inch) inside
the end of the pipe segment.

(4) If the sample site location se-
lected in the procedure at paragraph
(c)(2) or (c)(3) of this section is a porous
surface (for example, there is signifi-
cant corrosion so that the wipe mate-
rial will be shredded), then move the
sample site further inside the pipe seg-
ment (away from the end of the pipe or
pipe segment) until there is no such po-
rous surface. For purposes of this sub-
part, natural gas pipe with a thin po-
rous corrosion preventive coating is a
non-porous surface.

(5) If there is not a non-porous sur-
face accessible by paragraphs (c)(2) and
(c)(3) of this section, use one of the fol-
lowing three options:

(i) Sample the downstream end of the
pipe segment using the same sample
site location procedure as for the up-
stream end.

(ii) Select another pipe segment
using the random selection procedure
described in paragraph (b) of this sec-
tion.

(iii) If there is no other pipe segment
in the population to be sampled and
both ends of a pipe segment have po-
rous surfaces at all possible sample col-
lection sites, then assume that the pipe
segment contains 250 ppm PCB but <500
ppm PCB.

(d) Selecting the sample position—cir-
cumference. Based on the mark on the
top of the pipe segment made prior to
removing pipe from the ground or lift-
ing the pipe from its location during
former operations, sample the inside
center of the bottom of the pipe being
sampled. Make sure the sample is cen-
tered on the bottom of the pipe seg-
ment; that is, sample an equal area on
both sides of the middle of the bottom
of the pipe segment for the entire
length of the sample.

[63 FR 35462, June 29, 1998, as amended at 64

FR 33762, June 24, 1999)

§761.250 Sample site selection for
pipeline section abandonment.

This procedure is for the sample site
selection for a pipeline section to be

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abandoned, in accordance with
§761.60(b)(5)(4)(B).

(a) General. (1) Select sample collec-
tion sites in the pipeline section(s) by
following the directions in paragraph
(b) of this section.

(2) Select the proper sampling posi-
tion along the pipe by following the di-
rections in § 761.247 (c) and (d).

(3) Assure, by visual inspection, the
absence of free-flowing liquids in the
pipe by affirming no liquids at all liq-
uid collection points and all ends of the
pipeline section to be abandoned.

(b) Selection sample collection sites. At
a minimum, sample all ends of all pipe-
line sections to be abandoned in place.

(1) If the pipeline section to be aban-
doned is between the pressure side of
one compressor station and the suction
side of the next compressor station
downstream of the former gas flow, at
a minimum, sample all ends of the
abandoned pipe.

(2) If the pipeline section to be aban-
doned is longer than the distance he-
tween the pressure side of one com-
pressor station and the suction side of
the next compressor station down-
stream of the former gas flow, divide
the pipeline section, for purposes of
sampling, into smaller pipeline sec-
tions no longer than the distance from
the pressure side of one compressor
station to the suction side of the next
compressor station downstream of the
former gas flow. Consider each of the
smaller sections to be a separate aban-
donment and sample each one, at a
minimum, at all ends.

(3) Use the following procedure to lo-
cate representative sample collection
sites in pipeline sections at points
other than the suction and pressure
side of compressor stations, or the ends
of the pipeline section to be abandoned.

(i) First, assign a unique identifying
sequential number to each kilometer
or fraction of a kilometer length of
pipe within the entire pipeline section.

(ii) Use a random number table or a
random number generator to select
each representative sample collection
site from a complete list of the sequen-
tial identification numbers.

(ili) Samples may be collected by re-
moving any covering soil, cutting the

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pipe to gain access to the sampling lo-
cation, and collecting the surface sam-
ple with the pipe in place, rather than
completely removing the pipeline sec-
tions to collect the surface sample.

(63 FR 35462, June 29, 1998, as amended at 64
FR 33762, June 24, 1999)

§761.253 Chemical analysis.

(a) Extract PCBs from the standard
wipe sample collection medium and
clean-up the extracted PCBs in accord-
ance with either Method 3500B/3540C or
Method 3500B/3550B from EPA's SW-846,
Test Methods for Evaluating Solid
Waste, or a method validated under
subpart Q of this part. Use Method 8082
from SW-846, or a method validated
under subpart Q of this part, to analyze
these extracts for PCBs.

(b) Report all PCB sample concentra-
tions in yg/100 cm? (16 square inches) of
surface sampled. If sampling an area
smaller than 100 cm?, report converted
sample concentrations in accordance
with §761.243(b).

§ 761.257 Determining the regulatory
status of sampled pipe.

(a) For purposes of removal for dis-
posal of a pipe segment that has been
sampled, the sample results for that
segment determines its PCB surface
concentration. Determine the PCB sur-
face concentration of a segment which
was not sampled as follows:

(1) If the unsampled pipe segment is
between two pipe segments which have
been sampled, assume that the
unsampled segment has the same PCB
surface concentration as the nearest
sampled pipe segment.

(2) If an unsampled pipe segment is
equidistant between two pipe segments
which have been sampled, assume the
PCB surface concentration of the
unsampled segment to be the arith-
metic mean of the PCB surface con-
centrations measured in the two equi-
distant, sampled, pipe segments.

(b) For purposes of abandonment of a
pipeline section, assume that the PCB
surface concentration for an entire
pipeline section is the arithmetic mean
of the PCB surface concentrations
measured at the ends of the pipeline
section. If additional representative
samples were taken in a pipeline sec-
tion, assume that the PCB surface con-

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centration for the entire pipeline sec-
tion is the arithmetic mean of the con-
centrations measured in all representa-
tive samples taken.

(c) For purposes of removal for dis-
posal under §1761.60(b)(5)(ji)A)(1) or
abandonment under §'761.60(b)(5)(i)(B),
if the surface PCB concentration of a
pipe segment, determined by direct
Measurement or in accordance with
paragraph (a) of this section, or of a
pipeline section as determined in ac-
cordance with paragraph (b) of this sec-
tion, is >10 pg/100 cm?, but <100 ug/100
cm?, then that segment or section is
PCB-Contaminated.

Subpart N—Cieanup Site Charac-
terization sone for PCB
Remediation Wa in Ac-
cordance with § 761.61(a)(2)

SOURCE: FR 35464, June 29, 1998, unless
otherwise noted.

§ 761.260 Applicability.

This subpart provides a method for
collecting new data for characterizing
a PCB remediation waste cleanup site
or for assessing the sufficiency of exist-
ing site characterization data, as re-
quired by §761.61(a)(2).

§761.265 Sampling bulk PCB remedi-
ation waste and porous surfaces.

(a) Use a grid interval of 3 meters and
the procedures in §§761.283 and 761.286
to sample bulk PCB remediation waste
that is not in a container and porous
surfaces.

(b) Use the following procedures to
sample bulk PCB remediation waste
that is in a single container.

(1) Use a core sampler to collect a
minimum of one core sample for the
entire depth of the waste at the center
of the container. Collect a minimum of
50 cm’ of waste for analysis.

(2) If more than one core sample is
taken, thoroughly mix all samples into
a composite sample. Take a subsample
of a minimum of 50 cm? from the mixed
composite for analysis.

(c) Use the following procedures to
sample bulk PCB remediation waste
that is in more than one container.

(1) Segregate the containers by type
(for example, a 55-gallon drum and a

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roll-off container are types of con-
tainers).

(2) For fewer than three containers of
the same type, sample all containers.

(3) For more than three containers of
the same type, list the containers and
assign each container an unique se-
quential number. Use a random number
generator or table to select a minimum
of 10 percent of the containers from the
list, or select three containers, which-
ever is the larger.

(4) Sample the selected container(s)
according to paragraph (b) of this sec-
tion.

§761.267 Sampling non-porous  sur-
faces.

(a) Sample large, nearly flat, non-po-
rous surfaces by dividing the surface
into roughly square portions approxi-
mately 2 meters on each side. Follow
the procedures in §761.302(a).

(b) It is not necessary to sample
small or irregularly shaped surfaces.

§761.269 Sampling liquid PCB remedi-
ation waste,

(a) If the liquid is single phase, col-
lect and analyze one sample. There are
no required procedures for collecting a
sample,

(b) If the liquid is multi-phasic, sepa-
rate the phases, and collect and ana-
lyze a sample from each liquid phase,
There are no required procedures for
collecting a sample from each single
phase liquid.

(c) If the liquid has a non-liquid
phase which is >0.5 percent by total
weight of the waste, separate the non-
liquid phase from the liquid phase and
sample it separately as a non-liquid in
accordance with § 761.265.

§761.272 Chemical extraction
analysis of samples.

Use either Method 3500B/38540C or
Method 3500B/3550B from EPA’s SW-846,
Test Methods for Evaluating Solid
Waste, or a method validated under
subpart Q of this part, for chemical ex-
traction of PCBs from individual and
composite samples of PCB remediation
waste. Use Method 8082 from SW-846, or
a method validated under subpart Q of
this part, to analyze these extracts for
PCBs.

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§761.274 Reporting PCB  concentra-
tions in samples.

(a) Report all sample concentrations
for non-liquid PCBs on a dry weight
basis as micrograms of PCBs per gram
of sample (ppm by weight). Report sur-
face sampling results as eg/100 cm?. Di-
vide 100 cm? by the surface area and
multiply this quotient by the total
number of micrograms of PCBs on the ‘
surface to obtain the equivalent meas-
urement of micrograms per 100 cm?.

(b) Report all sample concentrations
for liquid PCBs on a wet weight basis
as micrograms of PCBs per gram of
sample (ppm by weight).

Subpart O—Sampling To Verify
Completion of  Self-imple-
menting Cleanup and On-Site
Disposal of Bulk PCB Remedi-
ation Waste and Porous Sur-
faces in Accordance With
§ 761.61(a)(6)

SouRCE: 63 FR 35465, June 29, 1998, unless
otherwise noted.

§761.280 Application and scope.

Follow the procedures in this subpart
when sampling to verify completion of
the cleanup for self-implementing, on-
site disposal of bulk PCB remediation
waste and porous surfaces consistent
with the levels of §761.61(a)(4)(i) and
(iii). The objective of this subpart is
not to search for new contamination.
Confirmation of compliance with the
cleanup levels in §761.61(a)(4) is only
verifiable for the area sampled in ac-
cordance with this subpart. Do not
make conclusions or extrapolations
about PCB concentrations outside of
the area which has been cleaned up and
verified based on the results of this
verification sampling.

§ 761.283 Determination of the number
of samples to collect and sample
collection locations,

This section addresses how to deter-
mine the number of samples to collect
and sample collection locations for
bulk PCB remediation waste and po-
rous surfaces destined to remain at a
cleanup site after cleanup.

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(a) Minimum number of samples. (1) At
each separate cleanup site at a PCB re-
mediation waste location, take a min-
imum of three samples for each type of
bulk PCB remediation waste or porous
surface at the cleanup site, regardless
of the amount of each type of waste
that is present. There is no upper limit
to the number of samples required or
allowed.

(2) This is an example of how to cal-
culate the minimum number of re-
quired samples at a PCB remediation
waste location. There are three dis-
tinct cleanup sites at this example lo-
cation: a loading dock, a transformer
storage lot, and a disposal pit. The
minimum number of samples to take
appears in parentheses after each type
of waste for each cleanup site. The PCB
remediation wastes present at the load-
ing dock are concrete (three samples)
and clay soil (three samples). The non-
liquid PCB remediation wastes present
at the transformer storage lot are oily
soil (three samples), clay soil (three
samples) and gravel (three samples).
The PCB remediation wastes present at
the disposal pit are sandy soil (three
samples), clay soil (three samples), oily
soil (three samples), industrial sludge
(three samples), and gravel (three sam-
ples).

(b) Selection of sample locations—gen-
eral. (1)(1) Use a square-based grid sys-
tem to overlay the entire area to be
sampled. Orient the grid axes on a
magnetic north-south line centered in
the area and an east-west axis perpen-
dicular to the magnetic north-south
axis also centered in the area,

(ii) If the site is recleaned based on
the results of cleanup verification con-
ducted in accordance with §761.61(a)(6),
follow the procedures in paragraph (b)
of this section for locating sampling
points after the recleaning, but reori-
ent the grid axes established in para-
graph (b)(1)(i) of this section by moving
the origin one meter in the direction of
magnetic north and one meter in the
direction east of magnetic north.

(2) Mark out a series of sampling
points 1.5 meters apart oriented to the
grid axes. The sampling points shall
proceed in every direction to the ex-
tent sufficient to result in a two-di-
mensional grid completely overlaying
the sampling area.

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(3) Collect a sample at each point if
the grid falls in the cleanup area. Ana-
lyze all samples either individually or
according to the compositing schemes
provided in the procedures at §761.289.
So long as every sample collected at a
grid point is analyzed as either an indi-
vidual sample or as part of a composite
sample, there are no other restrictions
on how many samples are analyzed.

(c) Selection of sample locations—small
cleanup sites. When a cleanup site is
sufficiently small or irregularly shaped
that a square grid with a grid interval
of 1.5 meters will not result in a min-
imum of three sampling points for each
type of bulk PCB remediation waste or
porous surface at the cleanup site,
there are two options.

(1) Use a smaller square grid interval
and the procedures in paragraph (b) of
this section.

(2) Use the following coordinate-
based random sampling scheme. If the
site is recleaned based on the results of
cleanup verification conducted in ac-
cordance with §761.61(a)(6), follow the
procedures in this section for locating
sampling points after the recleaning,
but select three new pairs of sampling
coordinates.

(i) Beginning in the southwest corner
(lower left when facing magnetic
north) of the area to be sampled, meas-
ure in centimeters (or inches) the max-
imum magnetic north-south dimension
of the area to be sampled. Next, begin-
ning in the southwest corner, measure
in centimeters (or inches) the max-
imum magnetic east-west dimension of
the area to be sampled. Designate the
north-south and east-west dimensions
(describing the west and south bound-
aries, respectively, of the area to be
sampled), as the reference axes of a
square-based grid system.

(ii) Use a random number table or
random number generator to select a
pair of coordinates that will locate the
sample within the area to be sampled.
The first coordinate in the pair is the
measurement on the north-south axis.
The second coordinate in the pair is
the measurement on the east-west axis.
Collect the sample at the intersection
of an east-west line drawn through the
measured spot on the north-south axis,
and a north-south line drawn through
the measured spot on the east-west

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axis. If the cleanup site is irregularly
shaped and this intersection falls out-
side the cleanup site, select a new pair
of sampling coordinates. Continue to
select pairs of sampling coordinates
until three are selected for each type of
bulk PCB remediation waste or porous
surface at the cleanup site.

(ad) Area of inference. Analytical re-
sults for an individual sample point
apply to the sample point and to an
area of inference extending to four
imaginary lines parallel to the grid
axes and one half grid interval distant
from the sample point in four different
directions. The area of inference forms
a square around the sample point. The
sides of the square are parallel to the
grid axes and one grid interval in
length. The sample point is in the cen-
ter of the square area of inference. The
area of inference from a composite
sample is the total of the areas of the
individual samples included in the
composite.

§761.286 Sample size and procedure
for collecting a sample.

At each selected sampling location
for bulk PCB remediation waste or po-
rous surfaces, collect at least 20 milli-
liters of waste, or a portion of suffi-
cient weight for the chemical analyst
to measure the concentration of PCBs
and still have sufficient analytical de-
tection sensitivity to reproducibly
measure PCBs at the levels designated
in §761.61(a)(4). Use a core sampler hav-
ing a diameter 22 cm and <3 cm. Collect
waste to a maximum depth of 7.5 cms.

§'761.289 Compositing samples.

Compositing is a method of com-
bining several samples of a specific
type of bulk PCB remediation waste or
porous surface from nearby locations
for a single chemical analysis. There
are two procedures for compositing
bulk PCB remediation waste samples.
These procedures are based on the
method for selecting sampling site lo-
cations in §761,283(b) and (c). The single
chemical analysis of a composite sam-
ple results in an averaging of the con-
centrations of its component samples.
The area of inference of a composite is
determined by the area of inference of
each of its component samples as de-
scribed in §761.283(d). Compositing is

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not mandatory. However, if
compositing is used, it must be per-
formed in accordance with the fol-
lowing procedures.

(a) Compositing in the field or in a lab-
oratory. Compositing may occur either
in the field or in a laboratory. Prepare
composite samples using equal volumes
of each constituent or component sam-
ple. Composited samples must be from
the same type of bulk PCB remediation
waste or porous surface (see the exam-
ple at §761.283(a)(2)). Mix composite
samples thoroughly. From each well-
mixed composite sample, take a por-
tion of sufficient weight for the chem-
ical analyst to measure the concentra-
tion of PCBs and still have sufficient
analytical detection sensitivity to
reproducibly measure PCBs at the lev-
els designated in §761.61(a)(4).

(b)(1) Compositing from samples col-
lected at grid points in accordance with
§$ 761.283(b). There are two kinds of com-
posite sampling procedures depending
on the original source of contamina-
tion of the site.

(i) The first procedure is for sites
with multiple point sources of con-
tamination (such as an old electrical
equipment storage area, a scrap yard,
or repair shop) or for unknown sources
of contamination. Under this
compositing scheme, composite a max-
imum of nine samples for each type of
bulk PCB remediation waste or porous
surface at the cleanup site. The max-
imum dimensions of the area enclosing
a nine grid point composite is two grid
intervals bounded by three collinear
grid points (3.0 meters or approxi-
mately 10 feet long). Take all samples
in the composite at the same depth.
Assure that composite sample areas
and individually analyzed samples
completely overlay the cleanup site.

(ii) The second procedure is for a sin-
gle point source of contamination, such
as discharge into a large containment
area (e.g., pit, waste lagoon, or evapo-
ration pond), or a leak onto soil from a
single drum or tank. Single point
source contamination may be from a
one-time or continuous contamination.
Composites come from two stages: an
initial compositing area centered in
the area to be sampled, and subsequent
compositing areas forming concentric
square zones around the initial

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compositing area. The center of the
initial compositing area and each of
the subsequent compositing areas is
the origin of the grid axes.

(A) Definition of the initial compositing
area. The initial compositing area is
based on a square that contains nine
grid poinis, is centered on the grid ori-
gin, and has sides two grid intervals
long. The initial compositing area has
the same center as this square and
sides one half a grid interval more dis-
tant from the center than the square.
The initial compositing area has sides
three grid intervals long.

(B) Definition of subsequent
compositing areas, Subsequent com-
posite sampling areas are in concentric
Square zones one grid interval wide
around the initial compositing area
and around each successive subsequent
compositing area. The inner boundary
of the first subsequent compositing
area is the outer boundary of the ini-
tial compositing area. The outer
boundary of the first subsequent
compositing area is centered on the
grid origin, has sides one grid interval
more distant from the grid origin than
the inner boundary, and is two grid in-
tervals longer on a side than the inner
boundary. The inner boundary of each
further subsequent compositing area is
the outer boundary of the previous sub-
sequent compositing area. The outer
boundary of each further subsequent
compositing area is centered on the
grid origin, has sides one grid interval
more distant from the grid origin than
the inner boundary, and is two grid in-
tervals longer on a side than the inner
boundary.

(C) Taking composite samples from the
initial and subsequent compositing areas.
(1) Select composite sampling areas
from the initial compositing area and
subsequent compositing areas such
that all grid points in the initial
compositing area and subsequent
compositing areas are part of a com-
posite or individual sample.

(2) A person may include in a single
composite sample a maximum of all
nine grid points in the initial
compositing area. The maximum num-
ber of grid points in a composite sam-
ple taken from a _ subsequent
compositing area is eight. These eight
grid points must be adjacent to one an-

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other in the subsequent compositing
area, but need not be collinear.

(2) Compositing from samples taken at
grid points or pairs of coordinates in ac-
cordance with §761.283(c). Samples col-
lected at small sites are based on se-
lecting pairs of coordinates or using
the sample site selection procedure for
grid sampling with a smaller grid in-
terval.

(i) Samples collected from a grid having
a smaller grid interval. Use the proce-
dure in paragraph (b)(1)(i) of this sec-
tion to composite samples and deter-
mine the area of inference for com-
posite samples.

(ii) Samples collected from pairs of co-
ordinates. All three samples must be
composited. The area of inference for
the composite is the entire area sam-
pled.

§761.292 Chemical extraction and
analysis of individual samples and
composite samples.

Use either Method %500B/3540C or
Method 3500B/3550B from BPA’s SW-846,
Test Methods for Evaluating Solid
Waste, or a method validated under
subpart Q of this part, for chemical ex-
traction of PCBs from individual and
composite samples of PCB remediation
waste. Use Method 8082 from SW-846, or
a method validated under subpart Q of
this part, to analyze these extracts for
PCBs.

§761.295 Reporting and recordkeeping
e the PCB concentrations in sam-
ples.

(a) Report all sample concentrations
for bulk PCB remediation waste and
porous surfaces on a dry weight basis
and as micrograms of PCBs per gram of
sample (ppm by weight).

(b) Record and keep on file for 3 years
the PCB concentration for each sample
or composite sample.

§ 761.298 Decisions based on PCB con-
centration measurements resulting

from sampling.
(a) For grid samples which are chemi-
cally analyzed individually, the PCB

concentration applies to the area of in-
ference as described in §761.283(d).

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(b) For grid samples analyzed as part
of a composite sample, the PCB con-
centration applies to the area of infer-
ence of the composite sample as de-
scribed in §761.283(d) (i.e., the area of
inference is the total of the areas of
the individual samples included in the
composite).

(c) For coordinate pair samples ana-
lyzed as part of a composite sample, in
accordance with §§761.283(c)(2) and
761.289(b)(2)(ii), the PCB concentration
applies to the entire cleanup site.

Subpart P—Sampling Non-Porous
Surfaces for Measurement-
Based Use, Reuse, and On-
Site or Off-Site Disposal Under
§761.61(a)(6) and Decon-
tamination Under
§ 761.79(b) (3)

SOURCE: 63 FR 35467, June 29, 1998, unless
otherwise noted.

§761.300 Applicability.

This subpart provides sample site se-
lection procedures for large, nearly flat
non-porous surfaces, and for small or
irregularly shaped non-porous surfaces.
This subpart also provides procedures
for analyzing the samples and inter-
preting the results of the sampling.
Any person verifying completion of
self-implementing cleanup and on-site
disposal of non-porous surfaces under
§761.61(a)(6), or verifying that decon-
tamination standards under
§761.79(b)(3) are met, must use these
procedures.

§761.302 Proportion of the total sur-
face area to sample.

(a) Large nearly flat surfaces. Divide
the entire surface into approximately 1
meter square portions and mark the
portions so that they are clearly iden-
tified. Determine the sample location
in each portion as directed in §761.304.

(1) For large nearly flat surfaces con-
taminated by a single source of PCBs
with a uniform concentration, assign
each 1 meter square surface a unique
sequential number.

(i) For three or fewer 1 meter square
areas, sample all of the areas.

(ii) For four or more 1 meter square
areas, use a random number generator

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or table to select a minimum of 10 per-
cent of the areas from the list, or to se-
lect three areas, whichever is more.

(2) For other large nearly flat sur-
faces, sample all of the one meter
square areas.

(b) Small or irregularly shaped surfaces.
For small surfaces having irregular
contours, such as hand tools, natural
gas pipeline valves, and most exterior
surfaces of machine tools, sample the
entire surface. Any person may select
sampling locations for small, nearly
flat surfaces in accordance with
§761.308 with the exception that the
maximum area in §761.308(a) is <1
meter square.

(c) Preparation of surfaces. Drain all
free-flowing liquids from surfaces and
brush off dust or loose grit.

§ 761.304 Determining sample location.

(a) For 1 square meter non-porous
surface areas having the same size and
shape, it is permissible to sample the
same 10 cm by 10 cm location or posi-
tion in each identical 1 square meter
area. This location or position is deter-
mined in accordance with §761.306 or
§ 761.308.

(b) If some 1 square meter surfaces
for a larger non-porous surface area
have different sizes and shapes, sepa-
rately select the 10 cm by 10 cm sam-
pling position for each different 1
square meter surface in accordance
with § 761.308.

(c) If non-porous surfaces have been
cleaned and the cleaned surfaces do not
meet the applicable standards or lev-
els, surfaces may be recleaned and re-
sampled. When resampling surfaces
previously sampled to verify cleanup
levels, use the sampling procedures in
§§ 761.306 through 761.316 to resample
the surfaces. If any sample site se-
lected coincides with a previous sam-
pling site, restart the sample selection
process until all resampling sites are
different from any previous sampling
sites,

§761.306 Sampling 1 meter square sur-
faces by random selection of halves.

(a) Divide each 1 meter square por-
tion where it is necessary to collect a
surface wipe test sample into two equal
(or as nearly equal as possible) halves.
For example, divide the area into top

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and bottom halves or left and right
halves. Choose the top/bottom or left/
right division that produces halves
having as close to the shape of a circle
as possible. For example, a square is
closer to the shape of a circle than is a
rectangle and a rectangle having a
length to width ratio of 2:1 is closer to
the shape of a circle than a rectangle
having a length to width ratio of 3:1.

(b) Assign a unique identifier to each
half and then select one of the halves
for further sampling with a random
number generator or other device (i.e.,
by flipping a coin),

(c) Continue selecting progressively
smaller halves by dividing the pre-
viously selected half, in accordance
with paragraphs (a) and (b) of this sec-
tion, until the final selected half is
larger than or equal to 100 cm? and
smaller than 200 cm?.

(d) Perform a standard PCB wipe test
on the final selected halves from each 1
meter square portion.

(e) The following is an example of ap-
plying sampling by halves. Assume
that the area to sample is a 1 meter
square surface area (a square that has
sides 1 meter long). Assign each half to
one face of a coin. After flipping the
coin, the half assigned to the face of
the coin that is showing is the half se-
lected.

(1) Selecting the first half:

(i) For a square shape the top/bottom
halves have the same shape as the left/
right halves when compared to a circle,
i.e., regardless of which way the sur-
face is divided, each half is 1 half meter
wide by 1 meter long. Therefore, divide
the area either top/bottom or left/right.
For selecting the first half, this exam-
ple will select from left/right halves.

di) A coin flip selects the left half.
The dimensions of this selected surface
area are 1 meter high and % meter
wide.

(2) Selecting the second half:

(i) If the next selection of halves was
left/right, the halves would be rectan-
gles four times as long as they are wide
@4 meter wide and 1 meter high).
Halves selected from top/bottom would
be square (4 meter on a side). There-
fore, select the next halves top/bottom,
because the shape of the top/bottom
halves (square) is closer to the shape of

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a circle than the shape of the left/right
halves (long narrow rectangles).

(ii) A coin flip selects the top half.
The dimensions of this selected surface
area are % meter high and % meter
wide.

(3) Selecting the third half:

(i) Just as for the selection of the
first half, which divided the original
square area, both the left/right and the
top/bottom halves have the same shape
when compared to a circle (both are
rectangles having the same dimen-
sions). Therefore, choose either left/
right or top/bottom halves. This exam-
ple will select from left/right halves.

(ii) A coin flip selects the right half.
The dimensions of this selected surface
are ¥ meter by % meter.

(4) Selecting the fourth half:

(i) If the next selection of halves was
left/right, the halves would be rectan-
gles four times as long as they are wide
(% meter wide and % meter high.
Halves selected from top/bottom would
be square (44 meter on a side). There-
fore, select the next halves top/bottom,
because the shape of the top/bottom
halves (square) are closer to the shape
of a circle than the shape of the left/
right halves (long narrow rectangles).

(ii) A coin flip selects the bottom
half. The dimensions of this selected
surface area are 4 meter high and 4
meter wide.

(5) Selecting the fifth half:

(i) Just as for the selection of the
first and third halves, both the left/
right and the top/bottom halves have
the same shape when compared to a
circle (both are rectangles having the
same dimensions). Therefore, choose
either left/right or top/bottom halves.
This example will select from left/right
halves.

(ii) A coin flip selects the right half.
The dimensions of the selected surface
are ¥% meter by 4 meter.

(6) Selecting the sixth half:

(i) If the next selection of halves was
left/right, the halves would be rectan-
gles four times as long as they are wide
(4s meter wide and “% meter high.
Halves selected from top/bottom would
be square (4% meter on a side). There-
fore, select the next halves top/bottom,
because the shape of the top/bottom
halves (square) are closer to the shape

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of a circle than the shape of the left/
right halves (long narrow rectangles).

(ii) A coin flip selects the top half.
The dimensions of this selected surface
are ¥% meter high and % meter wide or
12.5 cm by 12.5 cm.

(7) Collect a standard wipe test sam-
ple in the sixth half. Since the dimen-
sions of half of the sixth half would be
12.5 cm by 6.25 cm, the area (approxi-
mately 78 cm?) would be less than the
required 100 cm? minimum area for the
standard wipe test. Therefore, no fur-
ther sampling by halves is necessary.
Take the standard wipe test samples of
the entire selected sixth half.

§761.308 Sample selection by random
number generation on any two-di-
mensional square grid.

(a) Divide the surface area of the
non-porous surface into rectangular or
square areas having a maximum area
of 1 square meter and a minimum di-
mension of 10 centimeters.

(b) Measure the length and width, in
centimeters, of each area created in
paragraph (a) of this section. Round off
the number of centimeters in the
length and the width measurements to
the nearest centimeter.

(c) For each 1 square meter area cre-
ated in accordance with paragraph (a)
of this section, select two random num-
bers: one each for the length and width
borders measured in paragraph (b) of
this section, An eligible random num-
ber can be from zero up to the total
width, minus 10 centimeters.

(d) Locate the 10 centimeter by 10
centimeter sample.

(1) Orient the 1 square meter surface
area so that, when you are facing the
area, the length is left to right and the
width is top to bottom. The origin, or
reference point for measuring selected
random numbers of centimeters to the
sampling area, is on the lower left cor-
ner when facing the surface.

(2) Mark the random number selected
for the length distance, in centimeters,
from the origin to the right (at the bot-
tom of the area away from the origin).

(3) From the marked length distance
on the bottom of the area, move per-
pendicularly up from the bottom of the
area into the area for the distance ran-
domly selected for the width.

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(4) Use the point determined in para-
graph (d)(3) of this section as the lower
left corner of the 10 centimeter by 10
centimeter sample.

§761.310 Collecting the sample.

Use the standard wipe test as defined
in §761.123 to sample one 10 centimeter
by 10 centimeter square (100 cm?) area
to represent surface area PCB con-
centrations of each square meter or
fraction of a square meter of a nearly
flat, non-porous surface. For small sur-
faces, use the same procedure as for the
standard wipe test, only sample the en-
tire area, rather than 10 centimeter by
10 centimeter squares.

§761.312 Compositing of samples.

For a surface originally contami-
nated by a single source of PCBs with
a uniform concentration, it is permis-
sible to composite surface wipe test
samples and to use the composite
measurement to represent the PCB
concentration of the entire surface.
Composite samples consist of more
than one sample gauze extracted and
chemically analyzed together resulting
in a single measurement. The com-
posite measurement represents an
arithmetic mean of the composited
samples.

(a) Compositing samples from surfaces
to be used or reused. For small or irregu-
larly shaped surfaces or large nearly
flat surfaces, if the surfaces are con-
taminated by a single source of PCBs
with a uniform concentration, com-
posite a maximum of three adjacent
samples.

(b) Compositing samples from surfaces
to be disposed of off-site or on-site. (1)
For small or irregularly shaped sur-
faces, composite a maximum of three
adjacent samples.

(2) For large nearly flat surfaces,
composite a maximum of 10 adjacent
samples.

§$761.314 Chemical analysis of stand-
ard wipe test samples.

Perform the chemical analysis of
standard wipe test samples in accord-
ance with §761.272. Report sample re-
sults in micrograms per 100 cm?.

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§761.316 Interpreting PCB concentra-
tion measurements resulting from
this sampling scheme.

(a) For an individual sample taken
from an approximately 1 meter square
portion of the entire surface area and
not composited with other samples, the
status of the portion is based on the
surface concentration measured in that
sample. If the sample surface con-
centration is not equal to or lower
than the cleanup level, by inference the
entire 1 meter area, and not just the
immediate area where the sample was
taken, is not equal to or lower than the
cleanup level.

(b) For areas represented by the
measurement results from compositing
more than one 10 centimeter by 10 cen-
timeter sample, the measurement for
the composite is the measurement for
the entire area. For example, when
there is a composite of 10 standard
wipe test samples representing 9.5
square meters of surface area and the
result of the analysis of the composite
is 20 pg/l00 cm?, then the entire 9.5
square meters has a PCB surface con-
centration of 20 4e/100 cm?, not just the
area in the 10 cm by 10 cm sampled
areas.

(c) For small surfaces having irreg-
ular contours, where the entire surface
was sampled, measure the surface area.
Divide 100 cm? by the surface area and
multiply this quotient by the total
number of micrograms of PCBs on the
surface to obtain the equivalent meas-
urement of micrograms per 100 cm?.

Subpart @—Self-implementing Al-
ternative Extraction and
Chemical Analysis Procedures
for Non-liquid PCB Remedi-
ation Waste Samples

Source: 63 FR 35468, June 29, 1998, unless
otherwise noted.

§761.320 Applicability.

This subpart describes self-imple-
menting comparison testing require-
ments for chemical extraction and
chemical analysis methods used as an
alternative to the methods required in
§761.272 or §761.292. Any person con-
ducting comparison testing under this
subpart must comply with the require-

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ments of §761.80(i), including notifica-
tion, Use alternative methods only
after successful completion of these
comparison testing requirements and
after documentation of the results of
the testing.

§761.328 Sample preparation.

(a) The comparison study requires
analysis of a minimum of 10 samples
weighing at least 300 grams each. Sam-
ples of PCB remediation waste used in
the comparison study must meet the
following three requirements.

(1) The samples must either be taken
from the PCB remediation waste at the
cleanup site, or must be the same kind
of material as that waste. For example,
if the waste at the cleanup site is
sandy soil, you must use the same kind
of sandy soil in the comparison study.
Do not use unrelated materials such as
clay soil or dredged sediments in place
of sandy soil.

(2) PCB remediation waste may con-
tain interferences which confound or
hamper sample extraction and chem-
ical analysis. These interferences may
be from chemicals or other attributes
preexisting in the waste material, re-
sulting from the PCB contamination
source, or resulting from treatment to
remove or destroy PCBs. Comparison
study samples must also contain these
interfering materials to demonstrate
successful analysis in their presence.
For example, a PCB remediation waste
may have been co-disposed with chloro-
benzene solvents or chlorinated pes-
ticides. These chlorinated compounds
would have to be present in the com-
parison study compounds at the same
levels found, or at the highest levels
expected to be found, in the PCB reme-
diation waste. As another example, for
PCB remediation waste which had been
solvent washed with liquid amines to
remove PCBs, comparison study sam-
ples would have to contain concentra-
tions of these amines at the same lev-
els found, or at the highest levels ex-
pected to be found, in the PCB remedi-
ation waste.

(b) Prior to initiating the comparison
study, confirm the following PCB con-
centrations in the comparison study
samples using the methods specified in
§ 761.292. All samples of non-liquid PCB

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remediation waste must have PCB con-
centrations between 0.1 and 150 ppm.

(1) A minimum of three comparison
study samples must have PCB con-
centrations above the cleanup level
specified for the site in §761.61(a)(4) and
a minimum of three comparison study
samples must have PCB concentrations
below the specified cleanup level.

(2) At least one comparison study
sample must have a PCB concentration
290 percent and sl00 percent of the
cleanup level.

(3) At least one comparison study
sample must have a PCB concentration
2100 percent and <110 percent of the
cleanup level.

(c) If the comparison study samples
do not have the concentrations or con-
centration ranges required by para-
graph (b) of this section, for purposes
of use in this chemical extraction and
chemical analysis comparison study, a
person may adjust PCB concentrations
by dilution. Any excess material re-
sulting from the preparation of these
samples, which is not used as an ana-
lytical sample, is regulated as the PCB
concentration in the component having
the highest PCB concentration of the
component materials in the sample.

§761.326 Conducting the comparison
study.

Extract or analyze the comparison
study samples using the alternative
method. For an alternative extraction
method or alternative analytical meth-
od to be comparable to the methods re-
quired in §761.292, all of the following
conditions must be met.

(a) All samples having PCB con-
centrations greater than or equal to
the level of concern, as measured by
the methods required in §761.292, are
found to be greater than or equal to
the level of concern as measured by the
alternative method (no false nega-
tives).

(b) Only one sample which contains
PCBs at a level less than the level of
concern, as measured by the methods
required in §761.292, is found to have a
PCB concentration greater than the
level of concern as measured by the al-
ternative method (false positive); and
all other samples which contain PCBs
at levels less than the level of concern,
as measured by the methods required

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in §761.292, are found by the alternative
method to have PCBs less than the
level of concern (there are no addi-
tional false positives).

Subpart R—Sampling Non-Liquid,
Non-Metal PCB Bulk Product
Waste for Purposes of Charac-

terization for PCB Disposal in
Accordance With 761.62,
and Sampl PCB Remedi-
ation Waste ined for Off-

Site Disposal, in Accordance
With § 761.61

SOURCE: 63 FR 35469, June 29, 1998, unless
otherwise noted.

§761.340 Applicability.

Use the procedures specified in this
subpart to sample the following types
of waste when it is necessary to ana-
lyze the waste to determine PCB con-
centration or leaching characteristics
for storage or disposal.

(a) Existing accumulations of non-
liquid, non-metal PCB bulk product
waste.

(b) Non-liquid, non-metal PCB bulk
product waste from processes that con-
tinuously generate new waste.

(c) Non-liquid PCB remediation
waste from processes that continuously
generate new waste, that will be sent
off-site for disposal.

§761.345 Form of the waste to be sam-
pled.

PCB bulk product waste and PCB re-
mediation waste destined for off-site
disposal must be in the form of either
flattened or roughly conical piles. This
subpart also contains a procedure for
contemporaneous sampling of waste as
it is being generated.

§761.346 Three levels of sampling.

To select a sample of the waste and
prepare it for chemical extraction and
analysis, there are three required lev-
els of random sampling.

(a) First, select a single 19-liter (5
gallon) portion from a composite accu-
mulated either contemporaneously
with the generation of the waste or by
sampling an existing pile of waste. Col-
lection procedures for the first level of
sampling from existing piles of waste

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are in §761.347. Collection procedures
for the first level of sampling from a
contemporaneous generation of waste
are in §761.348. Compositing require-
ments and requirements for the sub-
sampling of composite samples to re-
sult in a single 19-liter sample are in
§761.350. Send the 19-liter sample to the
laboratory for the second and third lev-
els of sampling, including particle size
reduction for leach testing and drying
as required by §761.1(b)(4).

(b) Second, at the laboratory, select
one quarter of the 19-liter sample. Pro-
cedures the laboratory must use for
this second level of sample selection
appear in § 761.353.

(c) Third, select a 100 gram sub-
sample from the second level sub-
sample. Procedures the laboratory
must use for this third level of sample
selection appear in § 761.355.

§761.347 First level sampling—waste
from existing piles.

(a) General. Sample piles that are ei-
ther specifically configured for sam-
pling (see paragraph (b) of this section)
or that are of conical shape (see para-
graph (c) of this section). If sampling
from either of these shapes is not pos-
sible, conduct contemporaneous sam-
pling, in accordance with the proce-
dures in §761.848, or obtain the ap-
proval of the Regional Administrator
for an alternate sampling plan in ac-
cordance with §761.62(c).

(b) Specifically configured piles. A spe-
cifically configured pile is a single flat-
tened pile in the shape of a square or
rectangle having no restrictions on
length or width but restricted to 30 cm
(1 foot) in depth. A square shaped pile
facilitates sampling site selection for
the first level sample. Select eight 19-
liter samples from the pile and com-
posite them into one 19-liter sample as
follows:

(1) Divide the pile into quarters.

(2) Divide each of the quarter sec-
tions into quarters (i.e., into sixteenths
of the original pile).

(3) Select two sixteenths from each of
the four quarters, according to one of
the two following options:

(i) Randomly select the two six-
teenths from one quarter and sample
the sixteenths occupying the same po-

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sitions in each of the other three quar-
ters.

(ii) Randomly select two sixteenths
from each of the four quarters (i.e.,
perform a random selection four dif-
ferent times).

(4) At this point the eight selected
sixteenths undergo further division and
sample selection. Divide each of the
eight selected sixteenths into four
equal parts. Using a random number
generator or random number table, se-
lect one of the four equal parts from
each of the eight equal areas. If each of
the four equal parts has a volume >76
liters when projected downwards 30 cm,
continue to divide each selected area
into four equal parts, and select one of
the parts, until each selected area has
a volume of <76 liters but 219 liters.
When projected to a depth of 30 cm, a
square having a 25 cm side or a circle
having a diameter of approximately
28.5 cm equals a volume of approxi-
mately 19 liters. The volume of 76 liters
is equal to the volume enclosed by a
square having a side of 50 cm (or other
shape having an area of 250 cm?) pro-
jected to a depth of 30 cm.

(5) Take one sample of approximately
19 unsorted liters of waste from each of
the eight selected areas. Place each
sample into a separate 19-liter con-
tainer, allowing only sufficient space
at the top of the container to secure
the lid.

(6) Composite the eight 19-liter sam-
ples in accordance with §761.350,

(c) Conical-shaped piles. If it is nec-
essary to sample a pile which is too
large to be spread on the site to a uni-
form thickness of 1 foot or 30 cm, or if
there are too many piles to spread out
in the space available, use the fol-
lowing procedure to sample the piles.
This procedure assumes that the shape
of the piles is analogous to a cone; that
is, having a circular base with PCB
bulk product waste or PCB remediation
waste destined for off-site disposal
stacked up uniformly to a peak that is
a point centered above the center of
the circular base. Collect eight 19-liter
samples as follows:

(1) Collecting samples from more than
one pile, If the PCB bulk product waste
or PCB remediation waste consists of
more than one pile or container, assign

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each pile or container an integer num-
ber and then generate seven random in-
teger numbers to select the piles from
which you will collect samples. It is
possible that this random selection
procedure will result in selecting the
same pile number more than once, even
if seven or more piles are present. If so,
sample the pile once and restart the
sampling collection process to collect
additional samples. Do not collect mul-
tiple samples from the same location
in the pile.

(2) Collecting samples from a single pile.
If only one pile or container is present,
collect all eight samples from the same
pile.

(3) Setting up the sample site selection
system from a pile. Locate a sample in a
pile by the use of three parameters: a
particular radial direction, “r,’’ from
the peak at the center of the pile to the
outer edge at the base of the pile; a
point, ‘‘s,”’ along that radial direction
between the peak of the pile and the
outer edge of the base of the pile; and
a depth, “t’’, beneath point ‘'s.’’ The
top of the sample material will be
below depth ¢, at point s, on radius r.
Use a rod, dowel, stake, or broom han-
die as a marker, Nail or otherwise fas-
ten to the top of the marker two pieces
of string or cord of sufficient length
and strength to reach from the top of
the marker at the top of the pile to the
farthest peripheral edge at the bottom
of the pile, when the marker is posi-
tioned at the top or apex of the pile.
Pound or push the marker into the top
center (apex) of the pile, downward to-
ward the center of the base. Insert the
marker for at least 30 cm or one foot
until the marker is rigidly standing on
its own, even when the cord is pulled
tight to the bottom peripheral edge of
the pile. Ensure that the marker pro-
trudes from the top of the pile suffi-
ciently to allow the strings to move
easily around the pile when they are
pulled tight. Select the three param-
eters and the sampling location as fol-
lows:

(i) Determine the radial component
(r) of the location for each sample.

(A) Tie to a stake or otherwise fasten
one of the strings at ‘‘b,” the bottom of
the pile, as a reference point for find-

ing r.

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(B) Measure the circumference ‘‘c,"’
the distance around the bottom of the
pile. Determine r from b in one of two
ways:

(1) Multiply c by a randomly gen-
erated fraction or percentage of one.

(2) Select a random number between
one and the total number of centi-
meters in c.

(C) Locate r by starting at b, the
place where the fixed string meets the
base of the pile, and travel clockwise
around the edge of the pile at the base
for the distance you selected in para-
graph (c)(3)(i)(B) of this section.

(D) Fasten the second string at the
selected distance. The second string
marks the first parameter r.

(ii) Determine the second parameter
s of the location for each sample.

(A) Measure the distance, /, along the
string, positioned in paragraph
(c)(3)(i)(D) of this section, from the top
to the bottom of the pile at the se-
lected radial distance r, Determine the
distance s from / in one of two ways:

(1) Multiply | by a randomly gen-
erated fraction or percentage of one.

(2) Select a random number between
one and the total number of centi-
meters in /.

(B) Mark, for example by placing a
piece of tape on the string positioned
according to paragraph (¢c)(3)(i)(D) of
this section, the distance s, up from the
bottom of the pile on the string at r.

(iii) Determine the third and final pa-
rameter i‘ of the location for each sam-
ple.

(A) Mark and number 1 cm intervals
from one end of a rigid device, for ex-
ample a rod, dowel, stake, or broom
handle, for measuring the distance
from the top of the pile to the bottom
at the point s selected in paragraph
(c)(3)(ii)(B) of this section, The marked
and numbered device shall be of suffi-
cient strength to be forced down
through the maximum depth of the pile
and sufficient length to measure the
depth of the waste in the pile at any
point.

(B) Take the measuring device, con-
structed according to paragraph
(c)(3)(i11)CA) of this section, and at posi-
tion s, push the end of the device
marked with zero straight down into
the pile until it reaches the bottom of
the pile or ground level, The vertical

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distance ‘‘v’’ is the number of centi-
meters from the surface of the pile at
point s on the string to the bottom of
the pile or ground level. Read the dis-
tance v on the measuring device at the
surface of the pile. From the distance
v, determine ¢, in one of two ways:

(7) Randomly generate a fraction of
one and multiply the fraction times v.

(2) Select a random number between
zero and the total number of centi-
meters of the vertical distance v.

(iv) Dig a hole straight down into the
pile for t centimeters (inches) from the
surface of the pile at s.

(v) At depth 7, directly under the s
mark on the string, outline the top of
the sample container and collect (shov-
el) all waste under the outline in the
following order of preference in para-
graphs (c)(3)(v)(A) through (c)(3)(v)(C)
of this section. It is possible that some
of the eight sampling locations will not
provide 19 liters of sample.

(A) For a depth of 30 cm.

(B) Until the container is full.

(C) Until the ground level is reached.

(d) Compositing the samples. Composite
the eight 19-liter samples and sub-
sample in accordance with §'761.350.
Send the subsample to a laboratory for
further sampling as described in
§§761.353 and 761.355 and for chemical
extraction and analysis. If there is in-
sufficient sample for a 19-liter sample
from the composite sample composed
of the eight iterations of sample site
selection, according to the procedures
in paragraphs (c)(3)(i) through (c)(3)(v)
of this section, select additional sam-
ple sites, collect additional samples
and composite the additional waste in
the samples until a minimum of 19 li-
ters is in the composite.

(63 FR 35469, June 29, 1998, as amended at 64
FR 33762, June 24, 1999)

§761.348 Contemporaneous sampling.

Contemporaneous sampling is pos-
sible when there is active generation of
waste and it is possible to sample the
waste stream as it is generated. Collect
eight 19-liter samples as follows.

(a) Collect each sample by filling a
19-liter (5 gallon) container at a loca-
tion where the PCB bulk product waste
is released from the waste generator
onto a pile or into a receptacle con-

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tainer before the waste reaches the pile
or receptacle container.

(b) Determine a sample collection
start time using a random number gen-
erator or a random number table to se-
lect a number between 1 and 60, Collect
the first sample at the randomly se-
lected time in minutes after start up of
the waste output, or if the waste is cur-
rently being generated, after the ran-
dom time is selected. For example, if
the randomly selected time is 35, begin
collection 35 minutes after the start up
of waste generation. Similarly, if waste
output is ongoing and the random start
determination occurred at 8:35 a.m.,
collect the first sample at 9:10 a.m. (35
minutes after the random start deter-
mination).

(c) Collect seven more samples, one
every 60 minutes after the initial sam-
ple is collected. If the waste output
process stops, stop the 60-minute inter-
val time clock. When the process re-
starts, restart the 60-minute interval
time clock and complete the incom-
plete 60-minute interval.

(d) Composite the eight 19-liter sam-
ples and subsample in accordance with
§'761.350.

eet ee cronuiing from composite

(a) Preparing the composite. Composite
the samples (eight from a flattened
pile; eight or more from a conical pile;
eight from waste that is continuously
generated) and select a 19-liter sub-
sample for shipment to the chemical
extraction and analysis laboratory for
further subsampling. There are two op-
tions for the preparation of the com-
posite:

(1) Option one. Place all of the con-
tents of all 19-liter samples that you
collected into a 209 liter (55 gallon)
drum or similar sized, cylinder-shaped
container. Completely close the con-
tainer, and roll it 10 or more complete
revolutions to mix the contents.

(2) Option two. Add the 19-liter sam-
ples one at a time to a 209 liter (55 gal-
lon) drum. Between the addition of
each 19-liter sample, stir the composite
using a broom handle or similar long,
narrow, sturdy rod that reaches the
bottom of the container. Stir the mix-
ture for a minimum of 10 complete rev-
olutions of the stirring instrument

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around the container at a distance ap-
proximately half way between the out-
side and center of the container.

(b) Selecting a 19-liter subsample from
the composite. Once the composite is
mixed, pour the mixture of waste out
on a plastic sheet and either divide it
into 19-liter size piles or make one
large pile.

(1) From 19-liter sized piles, use a
random number generator or random
number table to select one of the piles.

(2) From one large pile, flatten the
pile to a depth of 30 cm and divide it
into 4 quarters of equal size. Use a ran-
dom number generator or random num-
ber table to select one quarter of the
pile. Further divide the selected quar-
ter pile into 19-liter portions and use a
random number generator or random
number table to select one 19-liter por-
tion. A square having a 25 cm side ora
circle having a diameter of approxi-
mately 28.5 cm when projected down-
wards 30 cm equals approximately 19 li-
ters.

(c) Transferring the sample to the ana-
lytical laboratory. Place the selected 19-
liter subsample in a container, ap-
proved for shipment of the sample, to
the chemical extraction and analysis
laboratory, for the next step in sample
selection in accordance with § 761.353.

§761.353 Second level of sample selec-
tion.

The second level of sample selection
reduces the size of the 19-liter sub-
sample that was collected according to
either §761.347 or §761.348 and subsam-
pled according to §761.350. The purpose
of the sample size reduction is to limit
the amount of time required to manu-
ally cut up larger particles of the waste
to pass through a 9.5 millimeter (mm)
screen. :

(a) Selecting a portion of the subsample
for particle size reduction. At the chem-
ical extraction and analysis labora-
tory, pour the 19-liter subsample onto a
plastic sheet or into a pan and divide
the subsample into quarters. Use a ran-
dom number generator or random num-
ber table to select one of these quar-
ters.

(b) Reduction of the particle size by the
use of a 9.5 mm screen. Collect the con-
tents of the selected quarter of waste
resulting from conducting the proce-

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dures in paragraph (a) of this section
and shake the waste in a 9.6 mm
screen. Separate the waste material
which passes through the screen from
the waste material which does not pass
through the screen. Manually cut or
otherwise reduce the size of all parts of
the waste portion which did not pass
through the 9.5 mm screen, such that
each part of the waste shall pass
through the 9.5 mm screen by shaking.

(c) Drying the reduced particle size
waste. Dry all of the waste portion re-

sulting from conducting the procedures

in paragraph (b) of this section, from 10
to 15 hours in a drying oven at 100 °C.
Allow the dried waste to cool to room
temperature,

(d) Mixing the dried waste. Place all of
the waste resulting from conducting
the procedures in paragraph (c) of this
section in a 19-liter pail or similarly
sized, cylinder-shaped container. Mix
the dried material according to one of
the two following options:

(1) First mizing option. Completely
close the container and roll the con-
tainer a minimum of 10 complete revo-
lutions to mix the contents.

(2) Second mizing option. Use a sturdy
stirring rod, such as a broom handle or
other device that reaches the bottom of
the container, to stir the waste for a
minimum of 10 complete revolutions
around the container at a distance ap-
proximately half way between the out-
side and the center of the container.

$761.355 Third level of sample selec-
tion.

The third level of sample selection
further reduces the size of the sub-
sample to 100 grams which is suitable
for the chemical extraction and anal-
ysis procedure.

(a) Divide the subsample resulting
from conducting the procedures in
§ 761.353 of this part into 100 gram por-
tions.

(b) Use a random number generator
or random number tabie to select one
100 gram size portion as a sample for a
procedure used to simulate leachate
generation.

(c) Dry the 100 gram sample, selected
after conducting the procedure in para-
graph (b) of this section, for 10 to 15
hours in a drying oven at 100 °C and
cool it to the analytical laboratory

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room temperature before analysis
using a procedure used to simulate
leachate generation. This sample was
dried previously in the larger quantity
sample at the second level of sampling
(§'761.353(c)) and is dried a second time
here (in the third level of sample selec-
tion). This dried and cooled sample
must weigh at least 50 grams.

(d) If the dried and cooled sample
weighs <50 grams, select additional 100
gram portions of sample one at a time
by repeating the directions in para-
graph (b) and (c) of this section, and
add each additional 100 gram portion of
sample to the first 100 gram portion
until at least 50 grams of dried mate-
rial is in the sample to be analyzed
using a procedure used to simulate
leachate generation.

§ 761.356 Conducting a leach test.

No method is specified as a procedure
used to simulate leachate generation,

§761.357 Reporting the results of the
procedure used to simulate leach-
ate generation.

Report the results of the procedure
used to simulate leachate generation
as micrograms PCBs per liter of ex-
tract from a 100 gram sample of dry
bulk product waste. Divide 100 grams
by the grams in the sample and mul-
tiply this quotient by the number of
micrograms PCBs per liter of extract
to obtain the equivalent measurement
from a 100 gram sample.

§761.358 Determining the PCB con-
centration of samples of waste.

Use either Method 3500B/3540C or
Method 3500B/3550B from EPA’s SW-846,
Test Methods for Evaluating Solid
Waste, or a method validated under
subpart Q of this part, for chemical ex-
traction of PCBs from individual and
composite samples of PCB bulk prod-
uct waste. Use Method 8082 from SW-
846, or a method validated under sub-
part Q of this part, to analyze these ex-
tracts for PCBs.

§761.359 Reporting the
centrations in samples.

Report all sample concentrations as
ppm by weight on a dry weight basis.

PCB con-

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Subpart S—Double Wash/Rinse
Method for Decontaminating
Non-Porous Surfaces

Source: 63 FR 35472, June 29, 1998, unless
otherwise noted.

§761.360 Background.

The double wash/rinse procedure is
used to quickly and effectively remove
PCBs on surfaces. It is important to se-
lect and use the proper cleanup equip-
ment, to conduct the procedure cor-
rectly so as not to redistribute PCBs,
and to comply with disposal require-
ments for all cleanup materials.

§761.363 Applicability.

The double wash/rinse procedure in-
cludes two washing steps and two rins-
ing steps. The two washing and rinsing
steps are slightly different depending
on whether a contaminated surface was
relatively clean before the spill (see
§761.372), or whether the surface was
coated or covered with dust, dirt,
grime, grease or another absorbent ma-
terial (see §761.375).

$761.366 Cleanup equipment.

(a) Use scrubbers and absorbent pads
that are not dissolved by the solvents
or cleaners used, and that do not shred,
crumble, or leave visible fragments on
the surface. Scrubbers and absorbent
pads used to wash contaminated sur-
faces must not be reused. Scrubbers
and absorbent pads for rinsing must
not contain 22 ppm PCBs, Scrubbers
and absorbent pads used in the second
rinse of contaminated surfaces may be
reused to wash contaminated surfaces.

(b) Capture and contain all solvents
and cleaners for reuse, decontamina-
tion, or disposal. Clean organic sol-
vents contain <2 ppm PCBs, Clean
water contains <3 ppb PCBs.

$761.369 Pre-cleaning the surface.

If visible PCB-containing liquid is
present on the surface to be cleaned,
thoroughly wipe or mop the entire sur-
face with absorbent paper or cloth
until no liquid is visible on the surface.

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§ 761.372

§ 761.372 cific uirements for rel-
. slivaly eae curtaces:

For surfaces that do not appear dusty
or grimy before a spill, such as glass,
automobile surfaces, newly-poured con-
crete, and desk tops, use the double
wash/rinse procedures in this section.

(a) First wash. Cover the entire sur-
face with organic solvent in which
PCBs are soluble to at least 5 percent
by weight. Contain and collect any
runoff solvent for disposal. Scrub rough
surfaces with a scrub brush or dispos-
able scrubbing pad and solvent such
that each 900 cm? (1 square foot) of the
surface is always very wet for 1
minute, Wipe smooth surfaces with a
solvent-soaked, disposable absorbent
pad such that each 900 cm? (] square
foot) is wiped for 1 minute. Any surface
<1 square foot shall also be wiped for 1
minute. Wipe, mop, and/or sorb the sol-
vent onto absorbent material until no
visible traces of the solvent remain.

(b) First rinse. Wet the surface with
clean rinse solvent such that the entire
surfaces is very wet for 1 minute. Drain
and contain the solvent from the sur-
face. Wipe the residual solvent off the
drained surface using a clean, dispos-
able absorbent pad until no liquid is
visible on the surface.

(c) Second wash. Repeat the proce-
dures in paragraph (a) of this section.
The rinse solvent from the first rinse
(paragraph (b) of this section) may be
used,

(d) Second rinse. Repeat the proce-
dures in paragraph (b) of this section.

§761.375 Specific uirements for
eustaiea ‘cocked’ ot covered with

dust, dirt, grime, se, or another
absorbent late

(a) First wash. Cover the entire sur-
face with concentrated or industrial
strength detergent or non-ionic surfac-
tant solution. Contain and collect all
cleaning solutions for proper disposal.
Scrub rough surfaces with a scrub
brush or scrubbing pad, adding clean-
ing solution such that the surface is al-
ways very wet, such that each 900 cm?
(1 square foot) is washed for 1 minute.
Wipe smooth surfaces with a cleaning
solution-soaked disposable absorbent
pad such that each 900 cm? (1 square
foot) is wiped for 1 minute. Wash any
surface <1 square foot for 1 minute.

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Mop up or absorb the residual cleaner
solution and suds with a clean, dispos-
able, absorbent pad until the surface
appears dry. This cleaning should re-
move any residual dirt, dust, grime, or
other absorbent materials left on the
surface during the first wash.

(b) First rinse, Rinse off the wash so-
lution with 1 gallon of clean water per
square foot and capture the rinse
water. Mop up the wet surface with a
clean, disposable, absorbent pad until
the surface appears dry.

(c) Second wash. Follow the procedure
in §761.372(a).

(d) Second rinse. Follow the procedure
in §'761.372(b).

§$761.378 Decontamination, reuse, and
of solvents, cleaners, and
equipment,

(a) Decontamination. Decontaminate
solvents and non-porous surfaces on
equipment in accordance with the
standards and procedures in §761.79(b)
and (c).

(b) Reuse. A solvent may be reused so
long as its PCB concentration is <50
ppm. Decontaminated equipment may
be reused in accordance with §761.30(u).
Store solvents and equipment for reuse
in accordance with §761.35.

(ec) Disposal. Dispose of all solvents,
cleaners, and absorbent materials in
accordance with §761.79(¢). Dispose of
equipment in accordance with
§761.61(ay(5v)(A), or decontaminate in
accordance with §761.79(b) or (c). Store
for disposal equipment, solvents, clean-
ers, and absorbent materials in accord-
ance with § 761.65.

Subpart T—Comparison for
Validating a New Perform-
ance-Based Decontamination
Solvent Under § 761.79(d)(4)

SOURCE: 63 FR 35473, June 29, 1998, unless
otherwise noted.

§761.380 Background.

This subpart provides self-imple-
menting criteria for validating the
conditions for use in performance-
based decontamination of solvents
other than those listed in §761.79(c)(3)
and (c)(4). Any person may use this
subpart for validating either a chem-
ical formulation or a product with a

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trade name whether or not the con-
stituents of the product are propri-
etary.

§ 761.383 Applicability.

Use the self-implementing decon-
tamination procedure only on smooth,
non-porous surfaces that were once in
contact with liquid PCBs. Decon-
tamination procedures under this sub-
part shail exactly parallel §'761.79(c)(3)
and (c)(4), except that the procedures
described in §161.79(c)(3)(iii) and
(c)(3)Giv) and (c)(4)(iii), (¢)(4)(iv) and
(c)(4)(vil) may be revised to contain pa-
rameters validated in accordance with
this subpart.

§761.386 Required nate con-

ditions for the validation study and
subsequent use during n-
tamination.

The following experimental condi-
tions apply for any solvent:

(a) Temperature and pressure. Conduct
the validation study and perform de-
contamination at room temperature
(from 215 °C to <30 °C) and at atmos-
pheric pressure.

(b) Agitation. Limit the movement in
the solvent to the short-term move-
ment from placing the contaminated
surface into the soak solvent and from
removing the surface from the soak
solvent.

(c) Time of soak. Soak the surface for
a minimum of 1 hour.

(d) Surface conditions for the validation
study. Prior to beginning the validation
study, ensure that there are no free-
flowing liquids on surfaces and that
surfaces are dry (i.e., there are no liq-
uids visible without magnification).
Also ensure that surfaces are virtually
free from non-liquid residues, corro-
sion, and other defects which would
prevent the solvent from freely circu-
lating over the surface.

(e) Confirmatory sampling for the vali-
dation study. Select surface sample lo-
cations using representative sampling
or a census. Sample a minimum area of
100 cm? on each individual surface in
the validation study. Measure surface
concentrations using the standard wipe
test, as defined in §'761.123, from which
a standard wipe sample is generated for
chemical analysis. Guidance for wipe
sampling appears in the document enti-

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§ 761.389

tled ‘‘Wipe Sampling and Double Wash/
Rinse Cleanup as Recommended by the
Environmental Protection Agency PCB
Spill Cleanup Policy,”’ available on
EPA's Web site at http://Awww.epa.gov/
ped, or from the Program Management,
Communications, and Analysis Office,
Office of Resource Conservation and
Recovery (5305P), Environmental Pro-
tection Agency, 1200 Pennsylvania
Ave., NW., Washington, DC 20460-0001.

(f) Concentration of PCBs. The method
validated may be used only to decon-
taminate surfaces containing PCBs at
concentrations on which the validation
study was performed and lower con-
centrations.

{63 FR 35473, June 29, 1998, as amended at 72
FR 657241, Oct. 9, 2007; 74 FR 30235, June 265,
2009)

$761.389 Testing parameter require-
ments.

There are no restrictions on the vari-
able testing parameters described in
this section which may be used in the
validation study. The conditions dem-
onstrated in the validation study for
these variables shall become the re-
quired conditions for decontamination
using the solvent being validated and
shall replace the comparable condi-
tions in §'761.79(b)(3) through (b)(6).
There are limited potential options for
varying a single requirement in this
section. If you change one of these
variable requirements, change it only
in the way listed in this section and do
not change any other validated condi-
tions. If you desire to change more
than one of the requirements in this
section, you must conduct a new study
to validate the decontamination under
the desired conditions.

(a) The study apparatus is not stand-
ardized. Critical components of the
study are the PCB material (for exam-
ple MODEF or some other spiking solu-
tion), the volume of the soaking sol-
vent, and the area of the contaminated
surface. The EPA study used beakers
and shallow dishes as the experimental
vessels to contain the surface and sol-
vent during the soaking process. In
order to minimize surface-to-volume
ratios, it is convenient to utilize flat
contaminated surfaces and shallow sol-
vent containers. During the validation

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study, use the same ratio of contami-
nated surface area to soak solvent vol-
ume as would be used during actual de-
contamination, It is also permissible to
use & Smaller surface area to soaking
solvent volume than used in the valida-
tion study, so long as all other required
parameters are used as validated in the
confirmation required in §761.886 (a)
through (f), and paragraphs (a) through
(c) of this section. Do not use a larger
surface-area-to-solvent-volumes ratio
or different kind of solvent based on
the results of the validation study.

(b) Except for the minimum soak
time of 1 hour (as required in
§761.386(c)), the length of soak time is
not otherwise restricted in the valida-
tion study. The soak time used in the
validation study, however, is a use re-
quirement for subsequent decon-
tamination using the solvent being
validated. It is permissible to use
longer soak times for decontamination
than the soak time used in the valida-
tion study, if all other parameters re-
quired in §761.386, and paragraphs (a)
and (c) of this section are used.

(c) There is no restriction on the
kind of material containing PCBs to
use to create the surface contamina-
tion for the validation study. There is
also no restriction on the level of start-
ing PCB surface concentration. It is
permissible to use lower concentra-
tions of PCB than the concentration
used in the validation study, if all
other parameters required in §1761.386
(a) through (f), and paragraphs (a)
through (c) of this section are used.

§761.392 Preparing validation study

samples.

(a)(l) To validate a procedure to de-
contaminate a surface contaminated
with a spill from liquid of a known con-
centration, contaminate (spike) the
surface to be used in the validation
study as follows:

(i) Use a spiking solution made of
PCBs mixed with a solvent to contami-
nate clean surfaces. Clean surfaces are
surfaces having PCB surface concentra-
tions <1 yg/100 cm? before intentionally
contaminating the surface.

(ii) Prior to contaminating a surface
for the validation study, mark the sur-
face sampling area to assure that it is

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completely covered with the spiking
solution.

(ili) Deliver the spiking solution onto
the surface, covering all of the sam-
pling area. Contain any liquids which
spill or flow off the surface. Allow the
spiking solution to drip drain off into a
container and then evaporate the spik-
ing solution off the contaminated sur-
face prior to beginning the validation
study. Contaminate a minimum of
eight surfaces for a complete valida-
tion study.

(iv) As a quality control step, test at
least one contaminated surface to de-
termine the PCB concentration to
verify that there are measurable sur-
face levels of PCBs resulting from the
contamination before soaking the sur-
face in the decontamination solvent.
The surface levels of PCBs on the con-
taminated surfaces must be 220 yg/l00
cm?,

(2) To validate a procedure to decon-
taminate a specified surface concentra-
tions of PCBs as measured by a stand-
ard wipe sample, contaminate a min-
imum of 10 surfaces. Contaminate all
the surfaces identically following the
procedures in paragraph (a)(1) of this
section and measure the PCB surface
concentrations of at least three of the
surfaces using a standard wipe test to
establish a surface concentration to be
included in the standard operating pro-
cedure. The surface levels of PCBs on
the contaminated surfaces must be 220
ug/100 cm?.

(b) [Reserved]

§761.395 A validation study.

(a) Decontaminate the following pre-
pared sample surfaces using the se-
lected testing parameters and experi-
mental conditions. Take a standard
wipe sample of the decontaminated
surface.

(1) At least one uncontaminated sur-
face. The surface levels of PCBs on the
uncontaminated surface must be <1 pg/
100 cm2,

(2) At least seven contaminated sur-
faces.

(b)(1) Use SW-846, Test Methods for
Evaluating Solid Waste methods for
sample extraction and chemical anal-
ysis as follows: Use Method 3500B/3540C
or Method 3500B/3550B for the extrac-
tion and cleanup of the extract and

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Method 8082 for the chemical analysis,
or methods validated under subpart Q
of this part.

(2) Report all validation study sur-
face sample concentrations on the
basis of micrograms of PCBs per 100
cm? of surface sampled.

(c) Following completion of the vali-
dation study, measurements from the
contaminated surfaces must have an
arithmetic mean of <10 pg/100 cm*. If
the arithmetic mean is >10 yg/100 cm?,
then the validation study failed and
the solvent may not be used for decon-
tamination under §761.79(d)(4) accord-
ing to the parameters tested.

§761.398 Reporting
keeping.

(a) Submit validation study results
to the Director, Office of Resource Con-
servation and Recovery (5301P), Envi-
ronmental Protection Agency, 1200
Pennsylvania Ave., NW., Washington,
DC 20460-0001, prior to the first use of a
new solvent for alternate decontamina-
tion under §761.79(d)(4). The use of a
new solvent is not TSCA Confidential
Business Information (CBI). From time
to time, EPA will confirm the use of
validated new decontamination sol-
vents and publish the new solvents and
validated decontamination procedures
in the FEDERAL REGISTER.

(b) Any person may begin to use sol-
vent validated in accordance with this
subpart at the time results are sub-
mitted to EPA.

(c) Record all testing parameters and
experimental conditions from the suc-
cessful validation study into a stand-
ard operating procedure (SOP) for ref-
erence whenever the decontamination
procedure is used. Include in the SOP
the identity of the soaking solvent, the
length of time of the soak, and the
ratio of the soak solvent to contami-
nated surface area during the soaking
process. Also include in the SOP the
maximum concentration of PCBs in the
spilled material and the identity of the
spilled material, and/or the measured
maximum surface concentration of the
contaminated surface used in the vali-
dation study. Record and keep the re-
sults of the validation study as an ap-
pendix to the SOP. Include in this ap-
pendix, the solvent used to make the
spiking solution, the PCB concentra-

and record-

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tion of the spiking solution used to
contaminate the surfaces in the valida-
tion study, and all of the validation
study testing parameters and experi-
mental conditions.

(63 FR 35473, June 29, 1999, as amended at 72
FR 57241, Oct. 9, 2007; 74 FR 30285, June 25,
2009)

PART 763—ASBESTOS

Subparts A-D [Reserved]

Subpart E—Asbestos-Containing Materials
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APPENDIX A TO SUBPART E oF Part 163—IN-
TERIM TRANSMISSION ELECTRON MICROS-
COPY ANALYTICAL METHODS—MANDATORY
AND NONMANDATORY—AND MANDATORY
SEcTION TO DETERMINE COMPLETION OF
RESPONSE ACTIONS

APPENDIX B TO SUBPART E OF PART 763 [RE-
SERVED]

APPENDIX C 'TO SUBPART E OF PART 763—As-
BESTOS MODEL ACCREDITATION PLAN

APPENDIX D TO SUBPART E oF PART 763—
TRANSPORT AND DISPOSAL OF ASBESTOS
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APPENDIX E TO SUBPART BE OF Part 763—IN-
TERIM METHOD OF THE DETERMINATION OF
AssBeEsTos IN BULK INSULATION SAMPLES

Subpart F [Reserved]

Subpart G—Asbestos Worker Protection

763.120 What is the purpose of this subpart?

763.121 Does this subpart apply to me?

763.122 What does this subpart require me to
do?

763.123 May a State implement its own as-
bestos worker protection plan?

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